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&lt;div&gt;SUMMARY &lt;/div&gt;
&lt;div&gt;October 3, 2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;2024COA107&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;No. 23CA0792 &amp;amp; 23CA2021, &lt;span&gt;In re Marriage of Pawelec&lt;/span&gt;&lt;span&gt; &lt;/span&gt;&lt;span&gt;â&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Family Law &lt;span&gt;â&lt;/span&gt;&lt;span&gt; &lt;/span&gt;&lt;span&gt;Motion to Modify Arbitratorâs Award â&lt;/span&gt; De Novo &lt;/div&gt;
&lt;div&gt;Hearing &lt;span&gt;â&lt;/span&gt; Fees and Costs&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Section 14-&lt;span&gt;10&lt;/span&gt;-128.5(2), C.R.S. 2024, allows a party who has &lt;/div&gt;
&lt;div&gt;previously consented to arbitration of disputed paren&lt;span&gt;&lt;/span&gt;ting matters to &lt;/div&gt;
&lt;div&gt;âmove the court to modify the arbitratorâs award pursuant t&lt;span&gt;&lt;/span&gt;o a de &lt;/div&gt;
&lt;div&gt;novo hearing.â  If the court grants the motion and âsubstan&lt;span&gt;&lt;/span&gt;ti&lt;span&gt;ally &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;upholdsâ the arbitratorâs decision, the party &lt;span&gt;who&lt;/span&gt;&lt;span&gt; requested the de &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;novo hearing âshall be ordered to pay the fees and costs of &lt;span&gt;&lt;/span&gt;the other &lt;/div&gt;
&lt;div&gt;party . . . incurred in responding toâ the motion âunless t&lt;span&gt;&lt;/span&gt;he court &lt;/div&gt;
&lt;div&gt;finds that it would be manifestly unjust.â&lt;span&gt;  &lt;span&gt;Id&lt;/span&gt;&lt;/span&gt;&lt;span&gt;. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;A division of the court of appeals holds that a court &lt;/div&gt;
&lt;div&gt;âsubstantially upholdsâ the arbitratorâs decision if it reaches a &lt;/div&gt;
&lt;div&gt;substantially similar outcome, regardless of whether the &lt;span&gt;&lt;/span&gt;courtâs &lt;/div&gt;
&lt;div&gt;reasoning differs from the arbitratorâs.&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;The summaries of the Colorado Court of Appeals published opinions &lt;/div&gt;
&lt;div&gt;constitute no part of the opinion of the division but have been prepared by &lt;/div&gt;
&lt;div&gt;the division for the convenience of the reader.  The summaries may not be &lt;/div&gt;
&lt;div&gt;cited or &lt;span&gt;relied upon as they are not the official language of the division.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Any discrepancy between the language in the summary and in the opinion &lt;/div&gt;
&lt;div&gt;should be resolved in favor of the language in the opinion. &lt;/div&gt;
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&lt;div&gt;The division also holds that âfees and costs . . . incurred in &lt;/div&gt;
&lt;div&gt;responding toâ the motion for &lt;span&gt;a &lt;span&gt;de novo hearing (1) do not &lt;span&gt;&lt;/span&gt;include &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;fees and costs incurred before the motion for &lt;span&gt;a &lt;/span&gt;de novo hearing is &lt;/div&gt;
&lt;div&gt;filed but (2) do include fees and costs incurred in preparing &lt;span&gt;&lt;/span&gt;for and &lt;/div&gt;
&lt;div&gt;attending the de novo hearing after the motion is granted.&lt;/div&gt;
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&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM8/aHR/MM8aHRBSiyySMI1WP7xTUBklbiEO3huPaIhEogBen76gc%3D?AWSAccessKeyId=ASIA5PHC3MTP4PFUFO62&amp;amp;Expires=1728835399&amp;amp;Signature=Qu1mehpUdvooNZFcfeXhXSa7edk%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEGcaCXVzLWVhc3QtMSJHMEUCIQDj1CuiMBzKiTOmyevNhHlRKhuHkdXM%2B2VqZikF4DjDcwIgPtllFgza212NqkQA0DkZJ%2FuEPnb0TsEwF211RX5vzNMqugUIwP%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDOT2V7C0c52REViZgCqOBdUSwTLuGMYGktN7T2kKOhWV%2Bvv0QZ%2BL8cAqFeYkdQXwkJ5nNeCWC12gNORlEAjTuxxmOrd%2FKMpQx0jv5IRj5cPwutAeuklAwydz52ri0SntU89cwtjVdC89CBH97reATK3bDlKwDY64OEZwN0phsPuduiwkG7gOnaI9YHuBp4VmVyxZlyRToDVPWdrZ9WcqvlvFvMBKuEkXm%2FpulTZNmfHvnlzzbuFCVY1R0NXpD54%2FXi8sMEiiCj3zqGnvDLYojKjRcpFEvdDBnCmgtFZvWjJRR9nFtwZe%2Bw3CpwyU0JajeJqisNxoVbmn2hu%2BIR7bw8WAQhEMrKGgXyKX9oiyVmpADWIBl0GNbOcSDw3KSaMWthmajIAgKJ4N%2FiOTcUUMxSQkIHmY44Qk3AKa3noRWN19mwADgZFWRSuqSJYxv2Q%2BOjavPOfyCzyw6KthythqeYUlgaSXU3K9DGNaYDRprDloG3L3VFvktkQ42R99FwV8V3qPnI01OThNGiq84D0otu8pDx0QMB%2FovHzNdRAx%2BPYNtpLBmYBrNL%2FOYB0aDQietkKE2RkWpQavmcAq9Klair9cb6jJ4RekvsT643xWsU%2FOLvE8PLruRQT%2F1N%2FX0UX5zjR%2Fb9JjqhEIxoKI3pc%2B9YHU3ZqNENeyOSWK1dj1V7r%2F1jEznV9kAGiCn4dGO7Xr6IcZJ6DtDO%2Btw6CAoi97vkf9DKKbKzUJCRG2L%2BcBx2ulcY4VQMD1bu%2Bmft5MfxFN2M7ySvjPfd82v7Va6o87UL78JXqnaYpZWBdVYcBrypmT265Qoxa0%2Bx3o2RAXFJJ9cMuT%2BkWoQknxb0cnJRMbGFkmtAbqyL7ZhZBEl%2BzbA6%2Fy3kuAFqOFh9RupyzQCDCFsK%2B4BjqxAcURJ%2FqYNzuTqitegtX%2BBIzdQCR1nTx5XnWsTF%2BOm7hFhjQWceI2TPXb6SAsZyWZJiFY5OWsMtMfmTBXG4UvF0bvyeDN%2F7hgOG5LJuZMNTsyvesxXU1rhtYNQyzT9D0iWIMZ%2Bk2qNM42tVL91kAKFFSdlgYmsuh8ioH%2FFVKzaOYwvtwD4lQhGpq23pRMpehyqcPDcD2m6h6%2Bq8qVznhGSa5QszFhRGi55iENsioF2IwvnA%3D%3D"&gt;&lt;div&gt;
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&lt;div&gt;COLORADO COURT OF APPEALS                                                &lt;span&gt;2024COA107&lt;/span&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Court of Appeals Nos. 23CA0792 &amp;amp; 23CA2021 &lt;/div&gt;
&lt;div&gt;Eagle County District Court No. 22DR93&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Honorable Rachel J. Olguin-&lt;span&gt;Fresquez, Judge&lt;/span&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;In re the Marriage of &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Christopher Paul Pawelec,  &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Appellee, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;and &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Katarzyna Julia Pawelec,&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Appellant. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;JUDGMENT AFFIRMED IN PART&lt;span&gt;, &lt;span&gt;REVERSED IN PART,&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;AND CASE REMANDED WITH DIRECTIONS &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Division V &lt;/div&gt;
&lt;div&gt;Opinion by JUDGE LUM &lt;/div&gt;
&lt;div&gt;Harris and Taubman*, JJ., concur &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Announced October 3, 2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Howard &amp;amp; Associates, LLC, Kara Noack, Vail, Colorado, for Appellee &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Courtney Holm &amp;amp; Associates, AAL PC, Courtney Autumn Holm, Edwards, &lt;/div&gt;
&lt;div&gt;Colorado, for Appellant &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;*Sitting by assignment of the Chief Justice under provisions of Colo. Const. art. &lt;/div&gt;
&lt;div&gt;VI, Â§ 5(3), and Â§ 24-51-1105, C.R.S. 2024.&lt;/div&gt;
&lt;/div&gt;
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&lt;div&gt;1 &lt;/div&gt;
&lt;div&gt;Â¶ 1&lt;span&gt; &lt;/span&gt;&lt;span&gt;In these consolidated appeals, Katarzyna Julia Pawelec &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(mother) appeals the trial court&lt;span&gt;â&lt;/span&gt;s permanent orders entered in &lt;/div&gt;
&lt;div&gt;connection with the dissolution of her marriage to C&lt;span&gt;&lt;/span&gt;hristopher Paul &lt;/div&gt;
&lt;div&gt;Pawelec (father). &lt;/div&gt;
&lt;div&gt;Â¶ 2&lt;span&gt; &lt;/span&gt;&lt;span&gt;Mother&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s appeal involves the application of an unusual &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;statutory procedure.  Section 14-&lt;span&gt;10&lt;/span&gt;-128.5(2), C.R.S. 2024, allows a &lt;/div&gt;
&lt;div&gt;party who has previously consented to arbitration of disp&lt;span&gt;&lt;/span&gt;uted &lt;/div&gt;
&lt;div&gt;parenting matters to &lt;span&gt;â&lt;/span&gt;move the court to modify the arbitrator&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;award pursuant to a de novo hearing.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;If, after the hearing, the &lt;/div&gt;
&lt;div&gt;court substantially upholds the arbitrator&lt;span&gt;â&lt;/span&gt;s decision, the &lt;span&gt;&lt;/span&gt;party &lt;span&gt;who&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;requested the de novo hearing &lt;span&gt;â&lt;/span&gt;shall be ordered to pay the fees an&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;costs of the other party . . . incurred in responding to&lt;span&gt;â&lt;/span&gt; &lt;span&gt;th&lt;/span&gt;e motion&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;unless the court finds that the award of fees would be manifestly&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;unjust.  &lt;span&gt;Id. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 3&lt;span&gt; &lt;/span&gt;&lt;span&gt;Mother&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s contentions require us to examine, for the first time, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(1) whether a court &lt;span&gt;â&lt;/span&gt;substantially upholds&lt;span&gt;â&lt;/span&gt; the arbitrator&lt;span&gt;â&lt;/span&gt;s decision &lt;/div&gt;
&lt;div&gt;if it reaches a substantially similar outcome but its reasoning &lt;/div&gt;
&lt;div&gt;differs &lt;span&gt;from the arbitratorâs &lt;/span&gt;and (2) the appropriate scope of the f&lt;span&gt;&lt;/span&gt;ees &lt;/div&gt;
&lt;div&gt;and costs awarded under the statute. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt; &lt;/div&gt;
&lt;div&gt;2 &lt;/div&gt;
&lt;div&gt;Â¶ 4&lt;span&gt; &lt;/span&gt;&lt;span&gt;We answer the first question in the affirmative.  And we &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;conclude that &lt;span&gt;â&lt;/span&gt;fees and costs . . . incurred in responding&lt;span&gt;â&lt;/span&gt; to the &lt;/div&gt;
&lt;div&gt;motion for &lt;span&gt;a &lt;/span&gt;de novo hearing include the fees and costs incurred in &lt;/div&gt;
&lt;div&gt;preparing for and attending the de novo hearing; however, they &lt;span&gt;&lt;/span&gt;&lt;span&gt;do &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;not include fees and costs incurred before the motion f&lt;span&gt;&lt;/span&gt;or a de novo &lt;/div&gt;
&lt;div&gt;hearing &lt;span&gt;is&lt;/span&gt; filed. &lt;/div&gt;
&lt;div&gt;Â¶ 5&lt;span&gt; &lt;/span&gt;&lt;span&gt;Mother also raises contentions regarding jurisdiction, due &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;process, parenting time, child support, notice, and the form of the &lt;/div&gt;
&lt;div&gt;decree of dissolution of marriage.  Both parties request appellate &lt;/div&gt;
&lt;div&gt;attorney fees. &lt;/div&gt;
&lt;div&gt;Â¶ 6&lt;span&gt; &lt;/span&gt;&lt;span&gt;We affirm in part, reverse in part, and remand for proceeding&lt;span&gt;&lt;/span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;consistent with this opinion. &lt;/div&gt;
&lt;div&gt;I.&lt;span&gt; &lt;span&gt;Background &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 7&lt;span&gt; &lt;/span&gt;&lt;span&gt;The parties married in 2017 and are the parents of one minor &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;child, S.P. &lt;/div&gt;
&lt;div&gt;Â¶ 8&lt;span&gt; &lt;/span&gt;&lt;span&gt;After five years of marriage, father petitioned for dissolution.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;The parties entered into a separation agreement regarding pro&lt;span&gt;&lt;/span&gt;perty &lt;/div&gt;
&lt;div&gt;division and agreed to arbitrate the remaining unresolved issues of &lt;/div&gt;
&lt;div&gt;parenting time&lt;span&gt;, &lt;/span&gt;decision-making, child support, and spousal &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;3 &lt;/div&gt;
&lt;div&gt;maintenance.&lt;span&gt;  &lt;span&gt;During the arbitration, mother did not raise any &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;allegations of domestic violence. &lt;/div&gt;
&lt;div&gt;Â¶ 9&lt;span&gt; &lt;/span&gt;&lt;span&gt;The arbitrator awarded the parties joint decision-making and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;named father, who planned to move from Colorado to N&lt;span&gt;&lt;/span&gt;orth &lt;/div&gt;
&lt;div&gt;Carolina following the dissolution, as the primary residential &lt;/div&gt;
&lt;div&gt;parent&lt;span&gt;.  &lt;span&gt;The arbitrator also entered orders concerning child su&lt;span&gt;&lt;/span&gt;pport &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;and spousal maintenance.  &lt;/div&gt;
&lt;div&gt;Â¶ 10&lt;span&gt; &lt;/span&gt;&lt;span&gt;Mother moved for a de novo hearing to modify the arbitrator&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;award as to parenting time under section 14-&lt;span&gt;10&lt;/span&gt;&lt;span&gt;-128.5.&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;In her &lt;/div&gt;
&lt;div&gt;motion, she alleged that father had engaged in a &lt;span&gt;â&lt;/span&gt;recurring patte&lt;span&gt;&lt;/span&gt;rn &lt;/div&gt;
&lt;div&gt;of control and abuse, both emotional and physical,&lt;span&gt;â&lt;/span&gt; which led her &lt;/div&gt;
&lt;div&gt;to &lt;span&gt;â&lt;/span&gt;withhold[] pertinent information&lt;span&gt;â&lt;/span&gt; from the arbitrator&lt;span&gt;.  &lt;/span&gt;After a &lt;/div&gt;
&lt;div&gt;case management conference, the trial court granted mothe&lt;span&gt;&lt;/span&gt;r&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;motion and set a one-day hearing. &lt;/div&gt;
&lt;div&gt;Â¶ 11&lt;span&gt; &lt;/span&gt;&lt;span&gt;The de novo hearing took place in February 2023.  After the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;hearing, the trial court entered an oral order awarding the parties &lt;/div&gt;
&lt;div&gt;joint decision-making, based on their agreement to that at the &lt;/div&gt;
&lt;div&gt;hearing, and finding that it was in the child&lt;span&gt;â&lt;/span&gt;s best interests to &lt;/div&gt;
&lt;div&gt;reside primarily with father when he relocated to North C&lt;span&gt;&lt;/span&gt;arolina &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;4 &lt;/div&gt;
&lt;div&gt;(oral parenting time order)&lt;span&gt;.  &lt;/span&gt;Mother moved for reconsideration, &lt;/div&gt;
&lt;div&gt;which the court denied in a written, signed order. &lt;/div&gt;
&lt;div&gt;Â¶ 12&lt;span&gt; &lt;/span&gt;&lt;span&gt;Because the trial court upheld the arbitrator&lt;span&gt;â&lt;/span&gt;s parenting t&lt;span&gt;&lt;/span&gt;ime &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;decision&lt;span&gt;, &lt;span&gt;father moved for attorney fees and costs under section 14-&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;10&lt;span&gt;-128.5(2).  The court granted father&lt;span&gt;â&lt;/span&gt;s motion. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 13&lt;span&gt; &lt;/span&gt;&lt;span&gt;Mother appealed the oral parenting time order, the denial of&lt;span&gt;&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the motion to reconsider, and the attorney fees order in Case No. &lt;/div&gt;
&lt;div&gt;23CA0792 (the first appeal). &lt;/div&gt;
&lt;div&gt;Â¶ 14&lt;span&gt; &lt;/span&gt;&lt;span&gt;Some months later, father filed proposed written orders &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;concerning parental responsibilities, child support, and spo&lt;span&gt;&lt;/span&gt;usal &lt;/div&gt;
&lt;div&gt;maintenance, along with &lt;span&gt;a &lt;/span&gt;transcript of the oral parenting &lt;span&gt;&lt;/span&gt;time &lt;/div&gt;
&lt;div&gt;order and a proposed decree of dissolution of marriage.&lt;span&gt;&lt;/span&gt;  The trial &lt;/div&gt;
&lt;div&gt;court signed father&lt;span&gt;â&lt;/span&gt;s proposed orders between October 5 and &lt;/div&gt;
&lt;div&gt;October 9, 2023 (October 2023 orders)&lt;span&gt;.  &lt;/span&gt;Mother separately appealed &lt;/div&gt;
&lt;div&gt;those orders in Case No. 23CA2021 (the second appeal).  We &lt;/div&gt;
&lt;div&gt;consolidated the appeals and now address mother&lt;span&gt;â&lt;/span&gt;s contentions &lt;/div&gt;
&lt;div&gt;together. &lt;/div&gt;
&lt;div&gt;Â¶ 15&lt;span&gt; &lt;/span&gt;&lt;span&gt;We first consider mother&lt;span&gt;â&lt;/span&gt;s threshold contentions that the &lt;span&gt;&lt;/span&gt;trial &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;court lacked jurisdiction to enter the October 2023 orders an&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;violated her due process rights at the de novo hearing.  &lt;span&gt;&lt;/span&gt;We then &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf8" data-page-no="8"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;5 &lt;/div&gt;
&lt;div&gt;address mother&lt;span&gt;â&lt;/span&gt;s substantive arguments relating to the parenting&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;time, attorney fees, and child support orders.  Finally, we consider &lt;/div&gt;
&lt;div&gt;mother&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s miscellaneous contentions related to the October &lt;span&gt;&lt;/span&gt;2023 &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;orders and the parties&lt;span&gt;â&lt;/span&gt; requests for appellate attorney fees. &lt;/div&gt;
&lt;div&gt;II.&lt;span&gt; &lt;span&gt;Jurisdiction &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 16&lt;span&gt; &lt;/span&gt;&lt;span&gt;Mo&lt;span&gt;ther contends that the trial court lacked jurisdicti&lt;span&gt;&lt;/span&gt;on to &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;enter the October 2023 orders because, at that time, mother&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;first &lt;/div&gt;
&lt;div&gt;appeal was pending.  Reviewing the question de novo, &lt;span&gt;see &lt;span&gt;McDonald &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;v. Zions First Nat&lt;span&gt;â&lt;/span&gt;l Bank, N.A.&lt;span&gt;, 2015 COA 29, Â¶ 33, we disagre&lt;span&gt;&lt;/span&gt;e. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;A.&lt;span&gt; &lt;span&gt;Applicable Law &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 17&lt;span&gt; &lt;/span&gt;&lt;span&gt;When a party files a notice of appeal from a final judgment,&lt;span&gt;&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the trial court is divested of jurisdiction &lt;span&gt;â&lt;/span&gt;with regard to t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;substantive issues that are the subject of the appeal.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;&lt;span&gt;Molitor v.&lt;span&gt;&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Anderson&lt;span&gt;, 795 P.2d 266, 268 (Colo. 1990).  But whe&lt;span&gt;&lt;/span&gt;n a party files a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;premature notice of appeal &lt;span&gt;â&lt;/span&gt; an appeal from a judgment that &lt;span&gt;&lt;/span&gt;isn&lt;span&gt;â&lt;/span&gt;&lt;span&gt;t &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;final &lt;span&gt;â&lt;/span&gt; the trial court doesn&lt;span&gt;â&lt;/span&gt;t lose jurisdiction.  &lt;span&gt;Musick v. Wozni&lt;span&gt;&lt;/span&gt;cki&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;136 P.3d 244, 246 (Colo. 2006).  A final judgment is one that&lt;span&gt;&lt;/span&gt; &lt;span&gt;â&lt;/span&gt;ends &lt;/div&gt;
&lt;div&gt;the proceeding in which it is entered and leaves nothing further to &lt;/div&gt;
&lt;div&gt;be done regarding the rights of the parties.&lt;span&gt;â&lt;/span&gt;  &lt;span&gt;In re Marria&lt;span&gt;&lt;/span&gt;ge of Salby&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;126 P.3d 291, 294 (Colo. App. 2005).  &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf9" data-page-no="9"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MMX/n%2Be/MMXn%2BekQ817y/lXyeovZwcgeMWibwHo7dUSO3Lu0a7r74%3D?AWSAccessKeyId=ASIA5PHC3MTP4PFUFO62&amp;amp;Expires=1728835399&amp;amp;Signature=8RC1WAinwyB8hJGGbBrndtfgMpI%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEGcaCXVzLWVhc3QtMSJHMEUCIQDj1CuiMBzKiTOmyevNhHlRKhuHkdXM%2B2VqZikF4DjDcwIgPtllFgza212NqkQA0DkZJ%2FuEPnb0TsEwF211RX5vzNMqugUIwP%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDOT2V7C0c52REViZgCqOBdUSwTLuGMYGktN7T2kKOhWV%2Bvv0QZ%2BL8cAqFeYkdQXwkJ5nNeCWC12gNORlEAjTuxxmOrd%2FKMpQx0jv5IRj5cPwutAeuklAwydz52ri0SntU89cwtjVdC89CBH97reATK3bDlKwDY64OEZwN0phsPuduiwkG7gOnaI9YHuBp4VmVyxZlyRToDVPWdrZ9WcqvlvFvMBKuEkXm%2FpulTZNmfHvnlzzbuFCVY1R0NXpD54%2FXi8sMEiiCj3zqGnvDLYojKjRcpFEvdDBnCmgtFZvWjJRR9nFtwZe%2Bw3CpwyU0JajeJqisNxoVbmn2hu%2BIR7bw8WAQhEMrKGgXyKX9oiyVmpADWIBl0GNbOcSDw3KSaMWthmajIAgKJ4N%2FiOTcUUMxSQkIHmY44Qk3AKa3noRWN19mwADgZFWRSuqSJYxv2Q%2BOjavPOfyCzyw6KthythqeYUlgaSXU3K9DGNaYDRprDloG3L3VFvktkQ42R99FwV8V3qPnI01OThNGiq84D0otu8pDx0QMB%2FovHzNdRAx%2BPYNtpLBmYBrNL%2FOYB0aDQietkKE2RkWpQavmcAq9Klair9cb6jJ4RekvsT643xWsU%2FOLvE8PLruRQT%2F1N%2FX0UX5zjR%2Fb9JjqhEIxoKI3pc%2B9YHU3ZqNENeyOSWK1dj1V7r%2F1jEznV9kAGiCn4dGO7Xr6IcZJ6DtDO%2Btw6CAoi97vkf9DKKbKzUJCRG2L%2BcBx2ulcY4VQMD1bu%2Bmft5MfxFN2M7ySvjPfd82v7Va6o87UL78JXqnaYpZWBdVYcBrypmT265Qoxa0%2Bx3o2RAXFJJ9cMuT%2BkWoQknxb0cnJRMbGFkmtAbqyL7ZhZBEl%2BzbA6%2Fy3kuAFqOFh9RupyzQCDCFsK%2B4BjqxAcURJ%2FqYNzuTqitegtX%2BBIzdQCR1nTx5XnWsTF%2BOm7hFhjQWceI2TPXb6SAsZyWZJiFY5OWsMtMfmTBXG4UvF0bvyeDN%2F7hgOG5LJuZMNTsyvesxXU1rhtYNQyzT9D0iWIMZ%2Bk2qNM42tVL91kAKFFSdlgYmsuh8ioH%2FFVKzaOYwvtwD4lQhGpq23pRMpehyqcPDcD2m6h6%2Bq8qVznhGSa5QszFhRGi55iENsioF2IwvnA%3D%3D"&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;6 &lt;/div&gt;
&lt;div&gt;B.&lt;span&gt; &lt;span&gt;Analysis &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 18&lt;span&gt; &lt;/span&gt;&lt;span&gt;The parties&lt;span&gt;â&lt;/span&gt; dissolution of marriage action involved issues &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;pertaining to property division, spousal maintenance, child sup&lt;span&gt;&lt;/span&gt;port, &lt;/div&gt;
&lt;div&gt;parenting time, and decision-making.  When mother filed her first &lt;/div&gt;
&lt;div&gt;appeal, the trial court had entered the following relevant orders:&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;the oral parenting time order; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;the order denying mother&lt;span&gt;â&lt;/span&gt;s motion to reconsider; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;the order granting father&lt;span&gt;â&lt;/span&gt;s request for attorney fees under &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;section 14-&lt;span&gt;10&lt;/span&gt;-128.5; and &lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;/span&gt;&lt;span&gt;an&lt;span&gt; order (1) confirming the arbitrator&lt;span&gt;â&lt;/span&gt;s award of spousal &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;maintenance; (2) adopting the parties&lt;span&gt;â&lt;/span&gt; stipulation as to their &lt;/div&gt;
&lt;div&gt;incomes for purposes of calculating child support; and (3) &lt;/div&gt;
&lt;div&gt;implicitly adopting the parties&lt;span&gt;â&lt;/span&gt; stipulation that the &lt;/div&gt;
&lt;div&gt;separation agreement regarding property division &lt;span&gt;â&lt;/span&gt;shall be &lt;/div&gt;
&lt;div&gt;adopted into a Decree of Dissolution of Marriage.&lt;span&gt;â&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; We note that, while the October 2023 dissolution decree has a &lt;/div&gt;
&lt;div&gt;checked box indicating that the court entered &lt;span&gt;â&lt;/span&gt;permanent orders&lt;span&gt;â&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;â&lt;span&gt; meaning the orders that were issued after arbitrati&lt;span&gt;&lt;/span&gt;on and after &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the de novo hearing &lt;span&gt;â&lt;/span&gt; it did not check the box incorporating the &lt;/div&gt;
&lt;div&gt;property division separation agreement into the decree.  This &lt;/div&gt;
&lt;div&gt;appears to be a clerical error. &lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pf9" data-dest-detail='[9,"XYZ",69,170,null]'&gt;&lt;div style="border-style:none;position:absolute;left:593.144444px;bottom:288.688333px;width:10.080000px;height:32.860000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfa" data-page-no="a"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;7 &lt;/div&gt;
&lt;div&gt;Â¶ 19&lt;span&gt; &lt;/span&gt;&lt;span&gt;But those orders weren&lt;span&gt;â&lt;/span&gt;t sufficient to completely determine the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;rights of the parties: the trial court hadn&lt;span&gt;â&lt;/span&gt;&lt;span&gt;t &lt;/span&gt;entered a written &lt;/div&gt;
&lt;div&gt;parenting time order, orders regarding child support, or a decre&lt;span&gt;&lt;/span&gt;e of &lt;/div&gt;
&lt;div&gt;dissolution of marriage.  Accordingly, mother&lt;span&gt;â&lt;/span&gt;s first notice of appeal &lt;/div&gt;
&lt;div&gt;was premature because the judgment wasn&lt;span&gt;â&lt;/span&gt;t final when she filed it.&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;See Salby&lt;span&gt;, 126 P.3d &lt;span&gt;at&lt;/span&gt; &lt;span&gt;29&lt;/span&gt;5 (holding that a parenting time order &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;wasn&lt;span&gt;â&lt;/span&gt;&lt;span&gt;t appealable until the court had entered the decree of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;dissolution of marriage and permanent orders regarding financial &lt;/div&gt;
&lt;div&gt;matters). &lt;/div&gt;
&lt;div&gt;Â¶ 20&lt;span&gt; &lt;/span&gt;&lt;span&gt;For this reason, we conclude that the trial court had &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;jurisdiction to enter the October 2023 orders.  &lt;span&gt;See Musick&lt;/span&gt;, 136 P.3&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;at 246.  And because those orders rendered the judgment f&lt;span&gt;&lt;/span&gt;inal, we &lt;/div&gt;
&lt;div&gt;have jurisdiction to consider the contentions raised in mother&lt;span&gt;â&lt;/span&gt;s first &lt;/div&gt;
&lt;div&gt;appeal.  &lt;span&gt;See i&lt;span&gt;d.&lt;/span&gt;&lt;/span&gt; at 246-&lt;span&gt;47.&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;III.&lt;span&gt; &lt;span&gt;Procedural Due Process &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 21&lt;span&gt; &lt;/span&gt;&lt;span&gt;Mother contends that the trial court violated her procedu&lt;span&gt;&lt;/span&gt;ral &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;due process rights at the de novo hearing by not allowing her to &lt;/div&gt;
&lt;div&gt;present additional evidence beyond her allotted time.&lt;span&gt;  &lt;/span&gt;We disagree.  &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfb" data-page-no="b"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;8 &lt;/div&gt;
&lt;div&gt;A.&lt;span&gt; &lt;span&gt;Additional Facts &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 22&lt;span&gt; &lt;/span&gt;&lt;span&gt;On November 29, 2022, the trial court held a case &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;management conference to discuss mother&lt;span&gt;â&lt;/span&gt;s motion for a de no&lt;span&gt;&lt;/span&gt;vo &lt;/div&gt;
&lt;div&gt;hearing&lt;span&gt;.  &lt;span&gt;Mother was unrepresented at the time.  The court asked &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;father&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s counsel how much time would be required.  Father&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;counsel asked for a full day to &lt;span&gt;â&lt;/span&gt;err on the side of caution.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;Mother &lt;/div&gt;
&lt;div&gt;didn&lt;span&gt;â&lt;/span&gt;&lt;span&gt;t object or ask for additional time.  The court t&lt;span&gt;&lt;/span&gt;hen asked both &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;parties if there were any questions, to which mother replied, &lt;span&gt;â&lt;/span&gt;&lt;span&gt;No.&lt;span&gt;â&lt;/span&gt;&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;The court set a one-day hearing for February 7, 2023. &lt;span&gt;&lt;/span&gt; On &lt;/div&gt;
&lt;div&gt;December 8, 2022, mother&lt;span&gt;â&lt;/span&gt;s counsel entered his appearance.  He &lt;/div&gt;
&lt;div&gt;didn&lt;span&gt;â&lt;/span&gt;&lt;span&gt;t seek a continuance or request more time for the &lt;span&gt;&lt;/span&gt;hearing. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 23&lt;span&gt; &lt;/span&gt;&lt;span&gt;Seven days before the hearing, the parties submitted a joint&lt;span&gt;&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;trial management certificate in which they acknowledged that&lt;span&gt;&lt;/span&gt; the &lt;/div&gt;
&lt;div&gt;hearing was scheduled for one day and estimated the amount of &lt;/div&gt;
&lt;div&gt;time they would need for each witness&lt;span&gt;.  &lt;/span&gt;Mother and father each &lt;/div&gt;
&lt;div&gt;estimated approximately three and a half hours for their r&lt;span&gt;&lt;/span&gt;espective &lt;/div&gt;
&lt;div&gt;witnesses, each reserving any necessary time for cross-examination&lt;span&gt;.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Again, mother&lt;span&gt;â&lt;/span&gt;s counsel didn&lt;span&gt;â&lt;/span&gt;t request more time. &lt;/div&gt;
&lt;div&gt;Â¶ 24&lt;span&gt; &lt;/span&gt;&lt;span&gt;Each party was given approximately equal time at the hearing, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;with mother presenting her case first&lt;span&gt;.  &lt;/span&gt;Mother testified, as did &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfc" data-page-no="c"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;9 &lt;/div&gt;
&lt;div&gt;maternal grandmother and mother&lt;span&gt;â&lt;/span&gt;s domestic violence expert &lt;/div&gt;
&lt;div&gt;witness&lt;span&gt;.  &lt;span&gt;Father testified about his parenting and his planned move &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;to North Carolina&lt;span&gt;.  &lt;/span&gt;He also called multiple family members, friends, &lt;/div&gt;
&lt;div&gt;and neighbors to testify on his behalf. &lt;/div&gt;
&lt;div&gt;Â¶ 25&lt;span&gt; &lt;/span&gt;&lt;span&gt;During the hearing, the court informed mother&lt;span&gt;â&lt;/span&gt;s counsel that &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;his time was up and asked if he had more witnesses.  &lt;span&gt;&lt;/span&gt;Mother&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;counsel said, &lt;span&gt;â&lt;/span&gt;[W]ell, I have four but I can get away wit&lt;span&gt;&lt;/span&gt;h calling &lt;/div&gt;
&lt;div&gt;two.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;span&gt;After the court indicated that it was unlikely they would hav&lt;span&gt;&lt;/span&gt;e &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;time for the witnesses, mother&lt;span&gt;â&lt;/span&gt;s counsel responded, &lt;span&gt;â&lt;/span&gt;Certainly, &lt;/div&gt;
&lt;div&gt;Your Honor.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;He didn&lt;span&gt;â&lt;/span&gt;t object, request a continuance, or ask for t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;hearing to continue to a second day.  &lt;/div&gt;
&lt;div&gt;Â¶ 26&lt;span&gt; &lt;/span&gt;&lt;span&gt;Later, mother&lt;span&gt;â&lt;/span&gt;s counsel said, &lt;span&gt;â&lt;/span&gt;I have a couple other witnesses I &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;was hoping to get in.  Is that not going to happen?&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;After the court &lt;/div&gt;
&lt;div&gt;said that it wouldn&lt;span&gt;â&lt;/span&gt;t, mother&lt;span&gt;â&lt;/span&gt;s counsel replied, &lt;span&gt;â&lt;/span&gt;Thanks.  I just &lt;span&gt;&lt;/span&gt;don&lt;span&gt;â&lt;/span&gt;&lt;span&gt;t &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;want them sitting around for no reason.&lt;span&gt;â&lt;/span&gt;  &lt;/div&gt;
&lt;div&gt;Â¶ 27&lt;span&gt; &lt;/span&gt;&lt;span&gt;Finally, at the very end of the hearing, mother&lt;span&gt;â&lt;/span&gt;s counsel &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;informed the court that  &lt;/div&gt;
&lt;div&gt;[t]here&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s a material witness that this court has &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;not heard from that . . . would dispute a lot of &lt;/div&gt;
&lt;div&gt;what [father] said and would support what &lt;/div&gt;
&lt;div&gt;[mother&lt;span&gt;] &lt;span&gt;has testified.  I don&lt;span&gt;â&lt;/span&gt;t know if the &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Court needs that information in order to &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfd" data-page-no="d"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;10 &lt;/div&gt;
&lt;div&gt;render a decision. . . .  [B]ut it is . . . &lt;/div&gt;
&lt;div&gt;information that would describe what was &lt;/div&gt;
&lt;div&gt;witnessed in terms of [father&lt;span&gt;â&lt;/span&gt;s] behavior &lt;/div&gt;
&lt;div&gt;toward [mother] in public. &lt;/div&gt;
&lt;div&gt;Â¶ 28&lt;span&gt; &lt;/span&gt;&lt;span&gt;The court replied that it wasn&lt;span&gt;â&lt;/span&gt;t inclined to increase mother&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;time when presentation of witnesses was &lt;span&gt;â&lt;/span&gt;within [mother&lt;span&gt;â&lt;/span&gt;s] &lt;/div&gt;
&lt;div&gt;planning&lt;span&gt;â&lt;/span&gt;&lt;span&gt; and time had run out.&lt;span&gt;  &lt;/span&gt;&lt;/span&gt;Mother&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s counsel did not further &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;attempt to identify the &lt;span&gt;âmaterial &lt;/span&gt;&lt;span&gt;witness&lt;span&gt;â&lt;/span&gt;&lt;/span&gt; or explain the witness&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;testimony or its importance. &lt;/div&gt;
&lt;div&gt;B.&lt;span&gt; &lt;span&gt;Standard of Review and Legal Principles &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 29&lt;span&gt; &lt;/span&gt;&lt;span&gt;A meaningful opportunity to be heard is an inherent element &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;of due process.  &lt;span&gt;In re Marriage of Hatton&lt;/span&gt;, 160 P.3d 326, &lt;span&gt;329&lt;/span&gt; (Colo. &lt;/div&gt;
&lt;div&gt;App. 2007).  Parties are entitled to sufficient time in which &lt;span&gt;&lt;/span&gt;to &lt;/div&gt;
&lt;div&gt;orderly present their cases&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;Salby&lt;/span&gt;, 126 P.3d &lt;span&gt;at&lt;/span&gt; &lt;span&gt;302&lt;/span&gt;. &lt;/div&gt;
&lt;div&gt;Â¶ 30&lt;span&gt; &lt;/span&gt;&lt;span&gt;The trial court&lt;span&gt;â&lt;/span&gt;s interest in administrative efficiency may not &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;take precedence over a party&lt;span&gt;â&lt;/span&gt;s right to due process.  &lt;span&gt;Hatt&lt;span&gt;&lt;/span&gt;on&lt;span&gt;, 160 &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;P.3d at 329.  But the court may set a time limit on a h&lt;span&gt;&lt;/span&gt;earing from &lt;/div&gt;
&lt;div&gt;the outset and monitor the parties&lt;span&gt;â&lt;/span&gt; use of their time during the &lt;/div&gt;
&lt;div&gt;hearing.  &lt;span&gt;See Maloney v. Brassfield&lt;/span&gt;, 251 P.3d 1097, 1102-05 (Colo. &lt;/div&gt;
&lt;div&gt;App. 2010); CRE 611(a) (&lt;span&gt;â&lt;/span&gt;The court shall exercise reasonable &lt;/div&gt;
&lt;div&gt;control over the mode and order of interrogating wit&lt;span&gt;&lt;/span&gt;nesses and &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfe" data-page-no="e"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;11 &lt;/div&gt;
&lt;div&gt;presenting evidence so as to . . . avoid needless consumption of &lt;/div&gt;
&lt;div&gt;time . . . .&lt;span&gt;â&lt;/span&gt;). &lt;/div&gt;
&lt;div&gt;Â¶ 31&lt;span&gt; &lt;/span&gt;&lt;span&gt;Because due process is implicated, we apply a heightened level &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;of scrutiny to determine whether the trial court&lt;span&gt;â&lt;/span&gt;s time limits &lt;/div&gt;
&lt;div&gt;constituted an abuse of discretion at two levels: whether t&lt;span&gt;&lt;/span&gt;he limits &lt;/div&gt;
&lt;div&gt;were inadequate for the nature of the proceeding at the &lt;span&gt;&lt;/span&gt;outset, and &lt;/div&gt;
&lt;div&gt;if not, whether they became inadequate because of development&lt;span&gt;&lt;/span&gt;s &lt;/div&gt;
&lt;div&gt;during the proceeding.  &lt;span&gt;See Maloney&lt;/span&gt;, 251 P.3d at 1102.  A court &lt;/div&gt;
&lt;div&gt;abuses its discretion when it acts in a manifestly arbitrary, unf&lt;span&gt;&lt;/span&gt;air, &lt;/div&gt;
&lt;div&gt;or unreasonable manner, or when it misconstrues or misapplies the &lt;/div&gt;
&lt;div&gt;law.  &lt;span&gt;See In re Marriage of Fabos&lt;/span&gt;, 2022 COA 66, Â¶ &lt;span&gt;16&lt;/span&gt;. &lt;/div&gt;
&lt;div&gt;C.&lt;span&gt; &lt;span&gt;Analysis &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 32&lt;span&gt; &lt;/span&gt;&lt;span&gt;The trial court did not abuse its discretion in setting the t&lt;span&gt;&lt;/span&gt;ime &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;limits or &lt;span&gt;by&lt;/span&gt; &lt;span&gt;denying motherâs counselâs &lt;/span&gt;request for additional time&lt;span&gt;.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;The parties had a little over three and &lt;span&gt;a &lt;/span&gt;half hours each to present &lt;/div&gt;
&lt;div&gt;evidence about a single issue: the best interests of the child &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pff" data-page-no="f"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MMX/n%2Be/MMXn%2BekQ817y/lXyeovZwcgeMWibwHo7dUSO3Lu0a7r74%3D?AWSAccessKeyId=ASIA5PHC3MTP4PFUFO62&amp;amp;Expires=1728835399&amp;amp;Signature=8RC1WAinwyB8hJGGbBrndtfgMpI%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEGcaCXVzLWVhc3QtMSJHMEUCIQDj1CuiMBzKiTOmyevNhHlRKhuHkdXM%2B2VqZikF4DjDcwIgPtllFgza212NqkQA0DkZJ%2FuEPnb0TsEwF211RX5vzNMqugUIwP%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDOT2V7C0c52REViZgCqOBdUSwTLuGMYGktN7T2kKOhWV%2Bvv0QZ%2BL8cAqFeYkdQXwkJ5nNeCWC12gNORlEAjTuxxmOrd%2FKMpQx0jv5IRj5cPwutAeuklAwydz52ri0SntU89cwtjVdC89CBH97reATK3bDlKwDY64OEZwN0phsPuduiwkG7gOnaI9YHuBp4VmVyxZlyRToDVPWdrZ9WcqvlvFvMBKuEkXm%2FpulTZNmfHvnlzzbuFCVY1R0NXpD54%2FXi8sMEiiCj3zqGnvDLYojKjRcpFEvdDBnCmgtFZvWjJRR9nFtwZe%2Bw3CpwyU0JajeJqisNxoVbmn2hu%2BIR7bw8WAQhEMrKGgXyKX9oiyVmpADWIBl0GNbOcSDw3KSaMWthmajIAgKJ4N%2FiOTcUUMxSQkIHmY44Qk3AKa3noRWN19mwADgZFWRSuqSJYxv2Q%2BOjavPOfyCzyw6KthythqeYUlgaSXU3K9DGNaYDRprDloG3L3VFvktkQ42R99FwV8V3qPnI01OThNGiq84D0otu8pDx0QMB%2FovHzNdRAx%2BPYNtpLBmYBrNL%2FOYB0aDQietkKE2RkWpQavmcAq9Klair9cb6jJ4RekvsT643xWsU%2FOLvE8PLruRQT%2F1N%2FX0UX5zjR%2Fb9JjqhEIxoKI3pc%2B9YHU3ZqNENeyOSWK1dj1V7r%2F1jEznV9kAGiCn4dGO7Xr6IcZJ6DtDO%2Btw6CAoi97vkf9DKKbKzUJCRG2L%2BcBx2ulcY4VQMD1bu%2Bmft5MfxFN2M7ySvjPfd82v7Va6o87UL78JXqnaYpZWBdVYcBrypmT265Qoxa0%2Bx3o2RAXFJJ9cMuT%2BkWoQknxb0cnJRMbGFkmtAbqyL7ZhZBEl%2BzbA6%2Fy3kuAFqOFh9RupyzQCDCFsK%2B4BjqxAcURJ%2FqYNzuTqitegtX%2BBIzdQCR1nTx5XnWsTF%2BOm7hFhjQWceI2TPXb6SAsZyWZJiFY5OWsMtMfmTBXG4UvF0bvyeDN%2F7hgOG5LJuZMNTsyvesxXU1rhtYNQyzT9D0iWIMZ%2Bk2qNM42tVL91kAKFFSdlgYmsuh8ioH%2FFVKzaOYwvtwD4lQhGpq23pRMpehyqcPDcD2m6h6%2Bq8qVznhGSa5QszFhRGi55iENsioF2IwvnA%3D%3D"&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;12 &lt;/div&gt;
&lt;div&gt;pertaining to parenting time.&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt;Cf. In re Marriage of Yates&lt;span&gt;, 148 P.3d &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;304, 309-10 (Colo. App. 2006) (determining that a three-day &lt;/div&gt;
&lt;div&gt;hearing was sufficient to present all issues &lt;span&gt;â&lt;/span&gt; property division, &lt;/div&gt;
&lt;div&gt;maintenance, parenting time, decision-making, and child &lt;/div&gt;
&lt;div&gt;support &lt;span&gt;â&lt;/span&gt; because both parties agreed to the time limits, &lt;/div&gt;
&lt;div&gt;husband&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s attorney did not object or suggest more time was nee&lt;span&gt;&lt;/span&gt;ded &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;until the end of the hearing, and the parties were reminded &lt;span&gt;&lt;/span&gt;of the &lt;/div&gt;
&lt;div&gt;time limits throughout the hearing).  Here, mother&lt;span&gt;âs counsel&lt;/span&gt; was &lt;/div&gt;
&lt;div&gt;permitted to make his own strategic decisions concerning witness &lt;/div&gt;
&lt;div&gt;presentation, and he opted to present &lt;span&gt;motherâs&lt;/span&gt; testimony, &lt;/div&gt;
&lt;div&gt;grandmother&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s testimony, and lengthy testimony from a domestic &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;violence expert.  H&lt;span&gt;e &lt;/span&gt;also extensively cross-examined father&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;witnesses.  &lt;span&gt;See Maloney&lt;/span&gt;, 251 P.3d at 1104 (noting&lt;span&gt;, in the divisionâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;consideration of whether the allocated length of time was adequate,&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;that parties are permitted to make strategic decisions).&lt;span&gt;&lt;/span&gt;  For this &lt;/div&gt;
&lt;div&gt;reason, we reject mother&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;comparison to &lt;span&gt;In re Marria&lt;span&gt;&lt;/span&gt;ge of Goellner&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; The parties originally disputed the allocation of decision-making &lt;/div&gt;
&lt;div&gt;responsibility along with parenting time.  As best we &lt;span&gt;&lt;/span&gt;can discern, &lt;/div&gt;
&lt;div&gt;the parties agreed to joint decision-making at the hearing, and the &lt;/div&gt;
&lt;div&gt;court ordered joint decision-making based on their agreement.  &lt;/div&gt;
&lt;div&gt;Mother doesnât appeal the allocation of decision&lt;span&gt;-making auth&lt;span&gt;&lt;/span&gt;ority. &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pff" data-dest-detail='[15,"XYZ",69,154,null]'&gt;&lt;div style="border-style:none;position:absolute;left:340.630000px;bottom:877.986667px;width:10.080000px;height:32.880000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf10" data-page-no="10"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;13 &lt;/div&gt;
&lt;div&gt;770 P.2d 1387 (Colo. App. 1989)&lt;span&gt;.  &lt;/span&gt;In that case, a division of this &lt;/div&gt;
&lt;div&gt;court concluded that the trial court abused its discre&lt;span&gt;&lt;/span&gt;tion by not &lt;/div&gt;
&lt;div&gt;granting wife additional time where husband presented his &lt;span&gt;&lt;/span&gt;case &lt;/div&gt;
&lt;div&gt;first, and, after cross-examination, wife had only thirty minutes to &lt;/div&gt;
&lt;div&gt;present her case-&lt;span&gt;in&lt;/span&gt;&lt;span&gt;-chief&lt;/span&gt;&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;Id.&lt;/span&gt; at 1388-89.  This case was markedly &lt;/div&gt;
&lt;div&gt;different. &lt;/div&gt;
&lt;div&gt;Â¶ 33&lt;span&gt; &lt;/span&gt;&lt;span&gt;Moreover, as the trial court pointed out, the parties were well &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;aware of the time constraints before the hearing, and it &lt;span&gt;&lt;/span&gt;was mother &lt;/div&gt;
&lt;div&gt;and her counsel&lt;span&gt;â&lt;/span&gt;s responsibility &lt;span&gt;â&lt;/span&gt;to make sure [she] got the most &lt;/div&gt;
&lt;div&gt;important evidence before the Court during [her] allotted t&lt;span&gt;&lt;/span&gt;ime &lt;/div&gt;
&lt;div&gt;frame.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;span&gt;See Maloney&lt;span&gt;, 251 P.3d at 1103 (considering whether time &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;constraints result in unfair surprise).  The trial court &lt;span&gt;&lt;/span&gt;also &lt;/div&gt;
&lt;div&gt;demonstrated flexibility, permitting mother&lt;span&gt;â&lt;/span&gt;s witnesses to go &lt;span&gt;â&lt;/span&gt;a little &lt;/div&gt;
&lt;div&gt;over&lt;span&gt;â&lt;/span&gt;&lt;span&gt; in the morning and finishing the hearing after six in the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;evening.  &lt;span&gt;See id.&lt;/span&gt; at 1104-05 (considering trial court&lt;span&gt;â&lt;/span&gt;s flexibility).  &lt;/div&gt;
&lt;div&gt;Â¶ 34&lt;span&gt; &lt;/span&gt;&lt;span&gt;Finally, mother failed to adequately identify the evidence that &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;was in danger of being excluded if the trial court didn&lt;span&gt;â&lt;/span&gt;t grant her &lt;/div&gt;
&lt;div&gt;more time.  &lt;span&gt;See&lt;/span&gt; &lt;span&gt;i&lt;span&gt;d.&lt;/span&gt;&lt;/span&gt; at 1105 (rejecting party&lt;span&gt;â&lt;/span&gt;s claim that he was &lt;/div&gt;
&lt;div&gt;prejudiced by inability to present additional evidence i&lt;span&gt;&lt;/span&gt;n part &lt;/div&gt;
&lt;div&gt;because the party didn&lt;span&gt;â&lt;/span&gt;t make an adequate and timely offer of &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf11" data-page-no="11"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;14 &lt;/div&gt;
&lt;div&gt;proof); &lt;span&gt;see also&lt;/span&gt; CRE 103(a)(2).  The first two times the court &lt;/div&gt;
&lt;div&gt;mentioned time constraints during the hearing, mother&lt;span&gt;âs counsel&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;said that he had other witnesses to present but didn&lt;span&gt;â&lt;/span&gt;t detail their &lt;/div&gt;
&lt;div&gt;prospective testimony.  The third time &lt;span&gt;â&lt;/span&gt; at the end of the &lt;/div&gt;
&lt;div&gt;hearing &lt;span&gt;â&lt;/span&gt; mother&lt;span&gt;âs counsel&lt;/span&gt; said only that he wanted to present&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;information from a single witness who would &lt;span&gt;â&lt;span&gt;dispute&lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;/span&gt; fath&lt;span&gt;&lt;/span&gt;er&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;testimony, &lt;span&gt;â&lt;/span&gt;&lt;span&gt;corroborat[e]&lt;span&gt;â&lt;/span&gt;&lt;/span&gt; mother&lt;span&gt;â&lt;/span&gt;s testimony, and &lt;span&gt;â&lt;/span&gt;describe what&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;was witnessed in terms of [father&lt;span&gt;â&lt;/span&gt;s] behavior toward [mother] in &lt;/div&gt;
&lt;div&gt;public.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;Mother&lt;span&gt;âs counsel&lt;span&gt; &lt;/span&gt;didnât explain what parts of the partiesâ &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;testimony would be âdisputedâ or âcorroboratedâ or describe&lt;span&gt; in any &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;detail the behavior about which the witness would testify.&lt;span&gt;&lt;/span&gt;  &lt;/div&gt;
&lt;div&gt;Â¶ 35&lt;span&gt; &lt;/span&gt;&lt;span&gt;This isn&lt;span&gt;â&lt;/span&gt;t sufficient to &lt;span&gt;â&lt;/span&gt;aid [the] trial court in addressing &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;[mother&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s] request[] to depart from [the] previously set time limit&lt;span&gt;&lt;/span&gt;[].&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Maloney&lt;span&gt;, &lt;span&gt;251&lt;/span&gt;&lt;span&gt; P.3d at 1105.&lt;/span&gt;  &lt;span&gt;And mother&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;&lt;span&gt;counselâs&lt;/span&gt; request for &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;more time to present specific witnesses in the motion for &lt;/div&gt;
&lt;div&gt;reconsideration was both insufficiently detailed and untimely. &lt;span&gt;&lt;/span&gt; &lt;span&gt;See &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;id.&lt;span&gt; (holding that submission of pretrial disclosures as an &lt;span&gt;&lt;/span&gt;exhibit to &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;a motion for a new trial was an untimely and overly general proff&lt;span&gt;&lt;/span&gt;er). &lt;/div&gt;
&lt;div&gt;Â¶ 36&lt;span&gt; &lt;/span&gt;&lt;span&gt;We aren&lt;span&gt;â&lt;/span&gt;t persuaded otherwise by mother&lt;span&gt;â&lt;/span&gt;s arguments to the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;contrary.  She contends that the time for the hearing was &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf12" data-page-no="12"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;15 &lt;/div&gt;
&lt;div&gt;inadequate from the outset and that the court should have known &lt;/div&gt;
&lt;div&gt;of the inadequacy before trial because (1) the partie&lt;span&gt;&lt;/span&gt;s mediated for &lt;/div&gt;
&lt;div&gt;four days and participated in a full day of arbitration;&lt;span&gt;&lt;/span&gt; (2) mother &lt;/div&gt;
&lt;div&gt;didn&lt;span&gt;â&lt;/span&gt;&lt;span&gt;t have any input into the length of the hearing; &lt;span&gt;&lt;/span&gt;and (3) the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;parties estimated they would each need around half a day for t&lt;span&gt;&lt;/span&gt;heir &lt;/div&gt;
&lt;div&gt;direct examinations.  We disagree.  The time it took to me&lt;span&gt;&lt;/span&gt;diate isn&lt;span&gt;â&lt;/span&gt;&lt;span&gt;t &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;relevant to whether mother had a reasonable opportunity t&lt;span&gt;&lt;/span&gt;o present &lt;/div&gt;
&lt;div&gt;her case at trial.  And while mother wasn&lt;span&gt;â&lt;/span&gt;t represented at the &lt;span&gt;&lt;/span&gt;case &lt;/div&gt;
&lt;div&gt;management conference where the court set the one-day hearing, &lt;/div&gt;
&lt;div&gt;mother&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s counsel entered his appearance just nine days later an&lt;span&gt;&lt;/span&gt;d &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;didn&lt;span&gt;â&lt;/span&gt;&lt;span&gt;t request additional time&lt;span&gt;.  &lt;/span&gt;&lt;/span&gt;Mother&lt;span&gt;âs counsel&lt;span&gt; also didn&lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt;t ask for &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;more time after submitting mother&lt;span&gt;â&lt;/span&gt;s witness list or his estimate that &lt;/div&gt;
&lt;div&gt;he would need most of &lt;span&gt;motherâs&lt;/span&gt; three and a half hours for direct &lt;/div&gt;
&lt;div&gt;examination. &lt;/div&gt;
&lt;div&gt;Â¶ 37&lt;span&gt; &lt;/span&gt;&lt;span&gt;We also reject mother&lt;span&gt;â&lt;/span&gt;s contention that she was prejudiced by &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the hearing&lt;span&gt;â&lt;/span&gt;s length because she was unable to present eviden&lt;span&gt;&lt;/span&gt;ce &lt;/div&gt;
&lt;div&gt;concerning her interaction and relationship with S.P. and her &lt;/div&gt;
&lt;div&gt;attention to S.P.&lt;span&gt;â&lt;/span&gt;s mental, emotional, and physical needs &lt;span&gt;â&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;evidence that the trial court remarked was missing.  Mother didn&lt;span&gt;â&lt;/span&gt;&lt;span&gt;t &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;timely raise her inability to present this evidence.  At &lt;span&gt;&lt;/span&gt;the end of the &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf13" data-page-no="13"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;16 &lt;/div&gt;
&lt;div&gt;hearing, when mother&lt;span&gt;âs counsel&lt;/span&gt; asked to present one more &lt;/div&gt;
&lt;div&gt;â&lt;span&gt;material witness,&lt;/span&gt;â&lt;span&gt; he said that the witness would testify about &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;father&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s behavior toward mother, not mother&lt;span&gt;â&lt;/span&gt;s relationshi&lt;span&gt;&lt;/span&gt;p with S.P&lt;span&gt;.  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Moreover, mother herself could have testified about these topics but &lt;/div&gt;
&lt;div&gt;didn&lt;span&gt;â&lt;/span&gt;&lt;span&gt;t do so.  &lt;span&gt;See id.&lt;/span&gt; at 1104 (&lt;span&gt;â&lt;/span&gt;[T]rial courts should allow the pa&lt;span&gt;&lt;/span&gt;rties &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;maximum latitude in presenting their cases within the allotted &lt;/div&gt;
&lt;div&gt;time.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;).&lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 38&lt;span&gt; &lt;/span&gt;&lt;span&gt;Finally, we reject as unpreserved mother&lt;span&gt;â&lt;/span&gt;s argument, to the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;extent she makes it, that she should have had more time t&lt;span&gt;&lt;/span&gt;o present &lt;/div&gt;
&lt;div&gt;her case because maternal grandmother testified through an &lt;/div&gt;
&lt;div&gt;interpreter.  &lt;span&gt;See Berra v. Springer &amp;amp; Steinberg, P.C.&lt;/span&gt;, 251 P.3d 56&lt;span&gt;&lt;/span&gt;7, &lt;/div&gt;
&lt;div&gt;570 (Colo. App. 2010) (holding that to preserve an issue for appeal, &lt;/div&gt;
&lt;div&gt;the issue must be brought to the trial court&lt;span&gt;â&lt;/span&gt;s attention so that &lt;span&gt;&lt;/span&gt;the &lt;/div&gt;
&lt;div&gt;court has an opportunity to rule on it). &lt;/div&gt;
&lt;div&gt;Â¶ 39&lt;span&gt; &lt;/span&gt;&lt;span&gt;For these reasons, we perceive no error in the length of the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;hearing set by the court or the court&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;denial of mother&lt;span&gt;âs request for&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;additional time. &lt;/div&gt;
&lt;div&gt;IV.&lt;span&gt; &lt;/span&gt;&lt;span&gt;Parenting Time &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 40&lt;span&gt; &lt;/span&gt;&lt;span&gt;Mother contends that the trial court erred by (1) not &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;considering whether the harm S.P. would suffer from moving t&lt;span&gt;&lt;/span&gt;o &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf14" data-page-no="14"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;17 &lt;/div&gt;
&lt;div&gt;North Carolina with father was outweighed by the advantage of t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;move; and (2) not finding that father committed domestic vi&lt;span&gt;&lt;/span&gt;olence, &lt;/div&gt;
&lt;div&gt;and, therefore, not addressing other required domestic violen&lt;span&gt;&lt;/span&gt;ce &lt;/div&gt;
&lt;div&gt;considerations. &lt;/div&gt;
&lt;div&gt;Â¶ 41&lt;span&gt; &lt;/span&gt;&lt;span&gt;Initially, we note that only the oral parenting time order &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;contains the trial court&lt;span&gt;â&lt;/span&gt;s findings of fact and conclusions of law. &lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;The written parenting time order provides for joint decision-making &lt;/div&gt;
&lt;div&gt;and contains a parenting time schedule that parallels the schedule &lt;/div&gt;
&lt;div&gt;in the oral order.  We therefore consider the orders togethe&lt;span&gt;&lt;/span&gt;r.  &lt;span&gt;See &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Friends of Denver Parks, Inc. v. City &lt;span&gt;&amp;amp; &lt;/span&gt;Cnty. of Denver&lt;span&gt;, 2013 COA &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;177, Â¶ 35 (&lt;span&gt;â&lt;/span&gt;Oral findings and conclusions that are contained &lt;span&gt;&lt;/span&gt;in a &lt;/div&gt;
&lt;div&gt;transcript are adequate if they are &lt;span&gt;â&lt;/span&gt;sufficiently comprehensive to &lt;/div&gt;
&lt;div&gt;provide a basis for review.&lt;span&gt;ââ&lt;/span&gt; (quoting &lt;span&gt;Hipps v. Hennig&lt;/span&gt;, 447 P.&lt;span&gt;&lt;/span&gt;2d 700, &lt;/div&gt;
&lt;div&gt;703 (Colo. 1968))).  However, in the event of a conflict,&lt;span&gt;&lt;/span&gt; the written &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf15" data-page-no="15"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MMX/n%2Be/MMXn%2BekQ817y/lXyeovZwcgeMWibwHo7dUSO3Lu0a7r74%3D?AWSAccessKeyId=ASIA5PHC3MTP4PFUFO62&amp;amp;Expires=1728835399&amp;amp;Signature=8RC1WAinwyB8hJGGbBrndtfgMpI%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEGcaCXVzLWVhc3QtMSJHMEUCIQDj1CuiMBzKiTOmyevNhHlRKhuHkdXM%2B2VqZikF4DjDcwIgPtllFgza212NqkQA0DkZJ%2FuEPnb0TsEwF211RX5vzNMqugUIwP%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDOT2V7C0c52REViZgCqOBdUSwTLuGMYGktN7T2kKOhWV%2Bvv0QZ%2BL8cAqFeYkdQXwkJ5nNeCWC12gNORlEAjTuxxmOrd%2FKMpQx0jv5IRj5cPwutAeuklAwydz52ri0SntU89cwtjVdC89CBH97reATK3bDlKwDY64OEZwN0phsPuduiwkG7gOnaI9YHuBp4VmVyxZlyRToDVPWdrZ9WcqvlvFvMBKuEkXm%2FpulTZNmfHvnlzzbuFCVY1R0NXpD54%2FXi8sMEiiCj3zqGnvDLYojKjRcpFEvdDBnCmgtFZvWjJRR9nFtwZe%2Bw3CpwyU0JajeJqisNxoVbmn2hu%2BIR7bw8WAQhEMrKGgXyKX9oiyVmpADWIBl0GNbOcSDw3KSaMWthmajIAgKJ4N%2FiOTcUUMxSQkIHmY44Qk3AKa3noRWN19mwADgZFWRSuqSJYxv2Q%2BOjavPOfyCzyw6KthythqeYUlgaSXU3K9DGNaYDRprDloG3L3VFvktkQ42R99FwV8V3qPnI01OThNGiq84D0otu8pDx0QMB%2FovHzNdRAx%2BPYNtpLBmYBrNL%2FOYB0aDQietkKE2RkWpQavmcAq9Klair9cb6jJ4RekvsT643xWsU%2FOLvE8PLruRQT%2F1N%2FX0UX5zjR%2Fb9JjqhEIxoKI3pc%2B9YHU3ZqNENeyOSWK1dj1V7r%2F1jEznV9kAGiCn4dGO7Xr6IcZJ6DtDO%2Btw6CAoi97vkf9DKKbKzUJCRG2L%2BcBx2ulcY4VQMD1bu%2Bmft5MfxFN2M7ySvjPfd82v7Va6o87UL78JXqnaYpZWBdVYcBrypmT265Qoxa0%2Bx3o2RAXFJJ9cMuT%2BkWoQknxb0cnJRMbGFkmtAbqyL7ZhZBEl%2BzbA6%2Fy3kuAFqOFh9RupyzQCDCFsK%2B4BjqxAcURJ%2FqYNzuTqitegtX%2BBIzdQCR1nTx5XnWsTF%2BOm7hFhjQWceI2TPXb6SAsZyWZJiFY5OWsMtMfmTBXG4UvF0bvyeDN%2F7hgOG5LJuZMNTsyvesxXU1rhtYNQyzT9D0iWIMZ%2Bk2qNM42tVL91kAKFFSdlgYmsuh8ioH%2FFVKzaOYwvtwD4lQhGpq23pRMpehyqcPDcD2m6h6%2Bq8qVznhGSa5QszFhRGi55iENsioF2IwvnA%3D%3D"&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;18 &lt;/div&gt;
&lt;div&gt;order prevails over the oral order&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;See Reed v. Indus. Claim Appeals &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Off.&lt;span&gt;, 13 P.3d 810, 813 (Colo. App. 2000).&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;3&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;/div&gt;
&lt;div&gt;A.&lt;span&gt; &lt;span&gt;Best Interests of the Child &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 42&lt;span&gt; &lt;/span&gt;&lt;span&gt;Mother argues that the trial court erred by not considering &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;whether the harm S.P. would suffer from moving to North &lt;span&gt;&lt;/span&gt;Carolina &lt;/div&gt;
&lt;div&gt;with father was outweighed by the advantage of the move&lt;span&gt;.  &lt;/span&gt;We &lt;/div&gt;
&lt;div&gt;discern no basis for reversal. &lt;/div&gt;
&lt;div&gt;1.&lt;span&gt; &lt;span&gt;Legal Principles and Standard of Review  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 43&lt;span&gt; &lt;/span&gt;&lt;span&gt;When allocating parenting time, the court must focus on the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;child&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s best interests, giving paramount consideration to t&lt;span&gt;&lt;/span&gt;he child&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;safety and physical, mental, and emotional conditions and nee&lt;span&gt;&lt;/span&gt;ds.  &lt;/div&gt;
&lt;div&gt;See&lt;span&gt; Â§ &lt;span&gt;14&lt;span&gt;-&lt;span&gt;10&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;-123.4(1)(a), C.R.S. 2024; Â§ &lt;span&gt;14&lt;/span&gt;&lt;span&gt;-&lt;span&gt;10&lt;/span&gt;&lt;/span&gt;-124(1.5), (1.7), C.R.S. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2024&lt;span&gt;; &lt;span&gt;see also&lt;/span&gt;&lt;span&gt; &lt;span&gt;In re Parental Responsibilities Co&lt;span&gt;&lt;/span&gt;ncerning M.W.&lt;span&gt;, 2012 &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;COA 162, Â¶ 16.  In making this determination, the court must &lt;/div&gt;
&lt;div&gt;consider all relevant factors, including, as pertinent here, (1) the &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;3&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; In her reply brief in the second appeal, mother argues for the first &lt;/div&gt;
&lt;div&gt;time that father did not properly serve her with the proposed &lt;/div&gt;
&lt;div&gt;written parenting time order, implying that she wants to object t&lt;span&gt;&lt;/span&gt;o it.&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;We don&lt;span&gt;â&lt;/span&gt;t consider this contention because it was raised fo&lt;span&gt;&lt;/span&gt;r the first &lt;/div&gt;
&lt;div&gt;time on reply.  &lt;span&gt;See Jenkins v. Haymore&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;208 P.3d 265, 269 (Colo. &lt;/div&gt;
&lt;div&gt;App. 2007)&lt;span&gt;. &lt;/span&gt; And in any event, as best we can discern, mother &lt;/div&gt;
&lt;div&gt;doesn&lt;span&gt;â&lt;/span&gt;&lt;span&gt;t argue that any specific provision &lt;span&gt;in&lt;/span&gt; the written parenting &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;time order is inconsistent with the oral parenting time order. &lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pf15" data-dest-detail='[21,"XYZ",69,203,null]'&gt;&lt;div style="border-style:none;position:absolute;left:444.730556px;bottom:835.973333px;width:10.080000px;height:32.880000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf16" data-page-no="16"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;19 &lt;/div&gt;
&lt;div&gt;wishes of the child&lt;span&gt;â&lt;/span&gt;s parents as to parenting time; (2) the &lt;span&gt;&lt;/span&gt;interaction &lt;/div&gt;
&lt;div&gt;and interrelationship of the child with his or her parents and any &lt;/div&gt;
&lt;div&gt;other person who may significantly affect the child&lt;span&gt;â&lt;/span&gt;s best interests; &lt;/div&gt;
&lt;div&gt;(3&lt;span&gt;) &lt;span&gt;any report of domestic violence; (4) the child&lt;/span&gt;&lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s adjustment to his &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;or her home, school, and community; (5) the ability of the parties t&lt;span&gt;&lt;/span&gt;o &lt;/div&gt;
&lt;div&gt;encourage the sharing of love, affection, and contact between t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;child and the other party; (6) whether the past pattern of &lt;/div&gt;
&lt;div&gt;involvement of the parties with the child reflects a system of val&lt;span&gt;&lt;/span&gt;ues, &lt;/div&gt;
&lt;div&gt;time commitment, and mutual support; (7) the physical proximity of&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;the parties to each other as it relates to the practical considerations &lt;/div&gt;
&lt;div&gt;of parenting time; and (8) the ability of each party to place the &lt;/div&gt;
&lt;div&gt;needs of the child ahead of his or her own needs.&lt;span&gt;  &lt;/span&gt;Â§ &lt;span&gt;14&lt;span&gt;-&lt;span&gt;10&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;-&lt;/div&gt;
&lt;div&gt;124(1.5)(a). &lt;/div&gt;
&lt;div&gt;Â¶ 44&lt;span&gt; &lt;/span&gt;&lt;span&gt;The court is not required to make findings on all statutory &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;factors.  &lt;span&gt;In re Custody of C.J.S.&lt;/span&gt;, 37 P.3d 479, 482 (Colo. Ap&lt;span&gt;&lt;/span&gt;p. 2001).  &lt;/div&gt;
&lt;div&gt;Findings must be sufficiently explicit, however, to give the &lt;span&gt;&lt;/span&gt;reviewing &lt;/div&gt;
&lt;div&gt;court a clear understanding of the basis of the order.  &lt;span&gt;In re Ma&lt;span&gt;&lt;/span&gt;rriage &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;of Lester&lt;span&gt;, 791 P.2d 1244, 1246 (Colo. App. 1990). &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 45&lt;span&gt; &lt;/span&gt;&lt;span&gt;We review a court&lt;span&gt;â&lt;/span&gt;s parenting time determination for an abuse &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;of discretion.  &lt;span&gt;In re Marriage of Badawiyeh&lt;/span&gt;, 2023 COA 4, Â¶ 9.  &lt;span&gt;A &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf17" data-page-no="17"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;20 &lt;/div&gt;
&lt;div&gt;court abuses its discretion if its decision is manifestly arbitrary&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;unreasonable, or unfair, or if it misapplied the law.  &lt;span&gt;Id.&lt;/span&gt;  &lt;/div&gt;
&lt;div&gt;2.&lt;span&gt; &lt;span&gt;The Trial Court&lt;span&gt;â&lt;/span&gt;s Best Interests Findings &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 46&lt;span&gt; &lt;/span&gt;&lt;span&gt;In its oral parenting time order, the trial court made the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;following findings: &lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;Each parent believed he or she was better equipped to meet &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;S.P.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;span&gt;best interests. &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;Each parent would continue to allow and foster the &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;relationship between S.P. and the other parent. &lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;There were no credible reports of domestic violence. &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;S.P. appeared to be well cared for and comfortable in &lt;span&gt;&lt;/span&gt;both &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;parents&lt;span&gt;â&lt;/span&gt;&lt;span&gt; homes. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;Mother had criticized or made disparaging remarks about &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;father to S.P. and had not acknowledged, apologized for, or &lt;/div&gt;
&lt;div&gt;changed her behavior. &lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;Father had &lt;span&gt;âminimiz[&lt;/span&gt;&lt;span&gt;ed&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;span&gt;]â&lt;/span&gt;&lt;span&gt; mother&lt;span&gt;â&lt;/span&gt;s home, disparag&lt;span&gt;ed&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;mother&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s current partner, and criticized mother to S.P.; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;however, father had apologized for his comments and &lt;/div&gt;
&lt;div&gt;recognized that they were unhelpful and unfair. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf18" data-page-no="18"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;21 &lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;Since the separation, both parents had been &lt;span&gt;â&lt;/span&gt;sharing 50/50 &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;responsibility&lt;span&gt;â&lt;/span&gt;&lt;span&gt; for S.P. and allowed her to communicate via &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;video call with the other parent and family members. &lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;Both parents had been &lt;span&gt;â&lt;/span&gt;involved with [S.P.&lt;span&gt;â&lt;/span&gt;s] schooling &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;[and] the establishment of her values.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;They both &lt;/div&gt;
&lt;div&gt;â&lt;span&gt;appear[ed] to be conscientious to her needs and the ability &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;to&lt;span&gt; . . . encourage mutual support.&lt;span&gt;â&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;Father had been responsible for taking S.P. to the doctor &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;and dentist and paying for and enrolling S.P. in preschool. &lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;Father volunteered at S.P.&lt;span&gt;â&lt;/span&gt;s school. &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;Mother did not testify &lt;span&gt;or &lt;/span&gt;offer other evidence regarding her &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;current involvement in S.P.&lt;span&gt;â&lt;/span&gt;s health or schooling. &lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;Most of the &lt;span&gt;â&lt;/span&gt;real decision making and caretaking&lt;span&gt;â&lt;/span&gt; was &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;father&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s responsibility. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 47&lt;span&gt; &lt;/span&gt;&lt;span&gt;Based on these findings, the trial court determined that&lt;span&gt;&lt;/span&gt; it was &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;in S.P.&lt;span&gt;â&lt;/span&gt;s best interests to live primarily with father in No&lt;span&gt;&lt;/span&gt;rth &lt;/div&gt;
&lt;div&gt;Carolina. &lt;/div&gt;
&lt;div&gt;3.&lt;span&gt; &lt;span&gt;Analysis &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 48&lt;span&gt; &lt;/span&gt;&lt;span&gt;We&lt;span&gt; disagree with mother&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;premise that the trial court was &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;required to explicitly consider whether the harm likely to be caused &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf19" data-page-no="19"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;22 &lt;/div&gt;
&lt;div&gt;to S.P. by moving to North Carolina was outweighed by t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;advantage of the move&lt;span&gt;.  &lt;/span&gt;While a court is required to make that &lt;/div&gt;
&lt;div&gt;consideration in determining &lt;span&gt;whether to modify&lt;/span&gt; &lt;span&gt;a &lt;span&gt;â&lt;/span&gt;&lt;/span&gt;custody dec&lt;span&gt;&lt;/span&gt;ree or &lt;/div&gt;
&lt;div&gt;a decree allocating decision-making responsibility,&lt;span&gt;â&lt;/span&gt; it isn&lt;span&gt;â&lt;/span&gt;t&lt;span&gt;&lt;/span&gt; required &lt;/div&gt;
&lt;div&gt;to do so in an initial allocation of parental responsibilit&lt;span&gt;&lt;/span&gt;ies (APR)&lt;span&gt;.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â§ &lt;span&gt;14&lt;span&gt;-&lt;span&gt;10&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;-131(2), C.R.S. 2024&lt;span&gt;. &lt;/span&gt; &lt;span&gt;Compare&lt;/span&gt; Â§ &lt;span&gt;14&lt;span&gt;-&lt;span&gt;10&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;-131(2)(c) (&lt;span&gt;â&lt;/span&gt;The court &lt;/div&gt;
&lt;div&gt;shall not modify a custody decree . . . unless . . . the harm likely to &lt;/div&gt;
&lt;div&gt;be caused by a change of environment is outweighed by the &lt;/div&gt;
&lt;div&gt;advantage of &lt;span&gt;a &lt;/span&gt;change to the child.&lt;span&gt;â&lt;/span&gt;), &lt;span&gt;with&lt;/span&gt; Â§ &lt;span&gt;14&lt;span&gt;-&lt;span&gt;10&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;-124(1.5)(a) &lt;/div&gt;
&lt;div&gt;(requiring only consideration of factors such as the child&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â&lt;span&gt;adjustment to [the] home, school, and community&lt;/span&gt;â&lt;span&gt; and &lt;/span&gt;â&lt;span&gt;[t]he &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;physical proximity of the parties to each other&lt;span&gt;â&lt;/span&gt; in initial &lt;span&gt;APR&lt;span&gt;).&lt;span&gt;&lt;/span&gt;&lt;span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 49&lt;span&gt; &lt;/span&gt;&lt;span&gt;We aren&lt;span&gt;â&lt;/span&gt;t persuaded otherwise by &lt;span&gt;In re Marriage of Ga&lt;span&gt;&lt;/span&gt;rst&lt;span&gt;, on &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;which mother relies, because that case concerned a modification &lt;span&gt;&lt;/span&gt;of &lt;/div&gt;
&lt;div&gt;an existing APR order as a result of one parent&lt;span&gt;â&lt;/span&gt;s relocation.  955 &lt;/div&gt;
&lt;div&gt;P.2d 1056, 1059 (Colo. App. 1998).  At most&lt;span&gt;, &lt;/span&gt;&lt;span&gt;Garst&lt;/span&gt; stands for the &lt;/div&gt;
&lt;div&gt;proposition that the best interests standard that applies in &lt;span&gt;&lt;/span&gt;initial &lt;/div&gt;
&lt;div&gt;APR determinations also applies to modifications.  It doesn&lt;span&gt;â&lt;/span&gt;t stand &lt;/div&gt;
&lt;div&gt;for the principle that a factor specific to modifications must be &lt;/div&gt;
&lt;div&gt;considered in an initial APR.  &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf1a" data-page-no="1a"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;23 &lt;/div&gt;
&lt;div&gt;Â¶ 50&lt;span&gt; &lt;/span&gt;&lt;span&gt;Moreover, the record reflects that the court consider&lt;span&gt;ed&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;evidence &lt;span&gt;of&lt;/span&gt; the best interests factors pertaining to father&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;plann&lt;span&gt;&lt;/span&gt;ed &lt;/div&gt;
&lt;div&gt;move: the physical proximity of the parents to one another; &lt;span&gt;&lt;/span&gt;S.P.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;attachment to her home, school, and community; and t&lt;span&gt;&lt;/span&gt;he presence &lt;/div&gt;
&lt;div&gt;or absence of a community (extended family and friends) for S.P. in &lt;/div&gt;
&lt;div&gt;each location.  &lt;span&gt;See&lt;/span&gt; Â§ &lt;span&gt;14&lt;/span&gt;&lt;span&gt;-&lt;span&gt;10&lt;/span&gt;&lt;/span&gt;-124(1.5)(a)(IV), (VIII).&lt;span&gt;  &lt;/span&gt;The trial court &lt;/div&gt;
&lt;div&gt;explicitly referenced testimony from each of the parties and their &lt;/div&gt;
&lt;div&gt;family members about (1) S.P.&lt;span&gt;â&lt;/span&gt;s community and family members in &lt;/div&gt;
&lt;div&gt;Colorado versus North Carolina; (2) S.P.&lt;span&gt;â&lt;/span&gt;s adjustment to changing &lt;/div&gt;
&lt;div&gt;preschools in Colorado; and (3) S.P.&lt;span&gt;â&lt;/span&gt;s educational options in &lt;span&gt;&lt;/span&gt;North &lt;/div&gt;
&lt;div&gt;Carolina. &lt;/div&gt;
&lt;div&gt;Â¶ 51&lt;span&gt; &lt;/span&gt;&lt;span&gt;We acknowledge that the court&lt;span&gt;â&lt;/span&gt;s findings &lt;span&gt;on&lt;/span&gt; these factors were &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;thin&lt;span&gt;: &lt;span&gt;it noted only that, because of S.P.&lt;span&gt;â&lt;/span&gt;s age, she would be &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;transitioning from preschool to kindergarten no matter wh&lt;span&gt;&lt;/span&gt;ere she &lt;/div&gt;
&lt;div&gt;lived.  However, the court did not need to make findings on every &lt;/div&gt;
&lt;div&gt;statutorily enumerated factor so long as (1) there is &lt;span&gt;â&lt;/span&gt;some &lt;/div&gt;
&lt;div&gt;indication in the record that the trial court considered&lt;span&gt;â&lt;/span&gt; the &lt;/div&gt;
&lt;div&gt;pertinent factors&lt;span&gt;, &lt;/span&gt;&lt;span&gt;Garst&lt;/span&gt;, 955 P.2d at 1058; and (2) the court made &lt;/div&gt;
&lt;div&gt;sufficient findings to explain its parenting time allocation and it&lt;span&gt;&lt;/span&gt;s &lt;/div&gt;
&lt;div&gt;determination that allowing father to be the primary parent&lt;span&gt;&lt;/span&gt; was in &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf1b" data-page-no="1b"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;24 &lt;/div&gt;
&lt;div&gt;S.P.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s best interests, &lt;span&gt;see &lt;span&gt;In re Marriage of Collins&lt;/span&gt;&lt;/span&gt;, 2023 COA 116M, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ &lt;span&gt;12.&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 52&lt;span&gt; &lt;/span&gt;&lt;span&gt;Ultimately, while the court considered the evidence relevant to &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the move&lt;span&gt;, &lt;/span&gt;it concluded that S.P.&lt;span&gt;â&lt;/span&gt;s best interests were served by &lt;/div&gt;
&lt;div&gt;moving with father to North Carolina because father was &lt;span&gt;â&lt;/span&gt;in a &lt;/div&gt;
&lt;div&gt;position of primary caregiver/caretaker,&lt;span&gt;â&lt;/span&gt; and &lt;span&gt;â&lt;/span&gt;while [m]other has &lt;/div&gt;
&lt;div&gt;engaged well and also co-parented, much of the real decision-&lt;/div&gt;
&lt;div&gt;making and caretaking has fallen on [father].&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;These findings are &lt;/div&gt;
&lt;div&gt;supported by the record, and we may not reweigh the co&lt;span&gt;&lt;/span&gt;urt&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;resolution of conflicting evidence.  &lt;span&gt;See i&lt;span&gt;d.&lt;/span&gt;&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;Accordingly, we perceive &lt;/div&gt;
&lt;div&gt;no abuse of discretion in the court&lt;span&gt;â&lt;/span&gt;s consideration and resolution &lt;span&gt;&lt;/span&gt;of &lt;/div&gt;
&lt;div&gt;the best interests factors.  &lt;/div&gt;
&lt;div&gt;B.&lt;span&gt; &lt;span&gt;Domestic Violence Allegations &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 53&lt;span&gt; &lt;/span&gt;&lt;span&gt;Mother also contends that the trial court erred &lt;span&gt;by&lt;/span&gt; not finding&lt;span&gt;&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that father committed an act of domestic violence&lt;span&gt;.  &lt;/span&gt;And she argues &lt;/div&gt;
&lt;div&gt;that, because domestic violence occurred, the trial court erred &lt;span&gt;by&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;not considering additional best interests factors under section 1&lt;span&gt;&lt;/span&gt;4-&lt;/div&gt;
&lt;div&gt;10&lt;span&gt;-124(4).  We again discern no reversible error. &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf1c" data-page-no="1c"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;25 &lt;/div&gt;
&lt;div&gt;1.&lt;span&gt; &lt;span&gt;Legal Principles and Standard of Review &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 54&lt;span&gt; &lt;/span&gt;&lt;span&gt;Domestic violence &lt;span&gt;â&lt;/span&gt;means an act of violence or a threatened &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;act of violence upon a person with whom the actor is or has &lt;span&gt;&lt;/span&gt;been &lt;/div&gt;
&lt;div&gt;involved in an intimate relationship.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;Â§ &lt;span&gt;14&lt;span&gt;-&lt;span&gt;10&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;-124(1.3)(b). &lt;/div&gt;
&lt;div&gt;Â¶ 55&lt;span&gt; &lt;/span&gt;&lt;span&gt;We review a trial court&lt;span&gt;â&lt;/span&gt;s factual findings for clear error.  &lt;span&gt;Gagne &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;v. Gagne&lt;span&gt;, &lt;span&gt;2019 COA 42, Â¶ 17.&lt;/span&gt;  &lt;span&gt;â&lt;/span&gt;&lt;span&gt;A court&lt;span&gt;â&lt;/span&gt;s finding of fact is clearly &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;erroneous if there is no support for it in the record.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;&lt;span&gt;Id.&lt;/span&gt;  We review &lt;/div&gt;
&lt;div&gt;the trial court&lt;span&gt;â&lt;/span&gt;s application of the law de novo.  &lt;span&gt;Id&lt;/span&gt;. &lt;/div&gt;
&lt;div&gt;Â¶ 56&lt;span&gt; &lt;/span&gt;&lt;span&gt;An error is only reversible if it affects the substantial rights of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the parties.  C.R.C.P. 61.  An error affects a party&lt;span&gt;â&lt;/span&gt;s substantial &lt;/div&gt;
&lt;div&gt;rights if &lt;span&gt;â&lt;/span&gt;it can be said with fair assurance that the error &lt;/div&gt;
&lt;div&gt;substantially influenced the outcome of the case or impaired t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;basic fairness of the trial itself.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;&lt;span&gt;Bly v. Story&lt;/span&gt;, 241 P.3d 529, 535 &lt;/div&gt;
&lt;div&gt;(Colo. 2010) (quoting &lt;span&gt;Banek v. Thomas&lt;/span&gt;, 733 P.2d 1171, 11&lt;span&gt;&lt;/span&gt;78 (Colo. &lt;/div&gt;
&lt;div&gt;1986)&lt;span&gt;).&lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2.&lt;span&gt; &lt;span&gt;Physical Domestic Violence Incident &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 57&lt;span&gt; &lt;/span&gt;&lt;span&gt;At the hearing, mother testified that, in September 2022, she &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;and father agreed that she could retrieve her property f&lt;span&gt;&lt;/span&gt;rom father&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;home while he was away with S.P&lt;span&gt;.  &lt;/span&gt;However, father returned home &lt;/div&gt;
&lt;div&gt;with S.P. while mother was still packing.  Father took S.P., &lt;span&gt;&lt;/span&gt;who was &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf1d" data-page-no="1d"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;26 &lt;/div&gt;
&lt;div&gt;upset that she couldnât go outside, &lt;span&gt;to an upstairs bedroom&lt;span&gt;.  &lt;/span&gt;When &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;mother went upstairs, father &lt;span&gt;â&lt;/span&gt;went crazy on [mother]&lt;span&gt;â&lt;/span&gt; and told her &lt;/div&gt;
&lt;div&gt;to leave&lt;span&gt;.  &lt;/span&gt;Instead, mother, who said she could hear S.P. &lt;span&gt;&lt;/span&gt;screaming, &lt;/div&gt;
&lt;div&gt;tried to enter the bedroom while father blocked the door.  Mother &lt;/div&gt;
&lt;div&gt;opened the door, causing father to trip, and he beca&lt;span&gt;&lt;/span&gt;me &lt;span&gt;â&lt;/span&gt;really &lt;/div&gt;
&lt;div&gt;upset.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;span&gt;Father then grabbed &lt;span&gt;motherâs &lt;/span&gt;arms, &lt;span&gt;â&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;move[d]&lt;span&gt;â&lt;/span&gt;&lt;span&gt; her next to &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the stairs, and yelled and swore at her, causing her to lose her &lt;/div&gt;
&lt;div&gt;balance and fall down the stairs&lt;span&gt;. &lt;/span&gt; Mother testified that father &lt;/div&gt;
&lt;div&gt;bruised her when he moved her to the stairs, and she introduced an &lt;/div&gt;
&lt;div&gt;exhibit showing the bruises&lt;span&gt;.  &lt;/span&gt;Father was not examined about th&lt;span&gt;e &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;incident. &lt;/div&gt;
&lt;div&gt;Â¶ 58&lt;span&gt; &lt;/span&gt;&lt;span&gt;In its oral order, the trial court found that, while it was &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;concerned about the incident and did not condone fath&lt;span&gt;&lt;/span&gt;er&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;behavior, mother was &lt;span&gt;â&lt;/span&gt;trying to gain entrance&lt;span&gt;â&lt;/span&gt; into a part of the &lt;/div&gt;
&lt;div&gt;home in which she was no longer living, and father&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;actions &lt;span&gt;â&lt;/span&gt;[were] &lt;/div&gt;
&lt;div&gt;simply to move her from the [bedroom] door.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;The court also noted &lt;/div&gt;
&lt;div&gt;that mother herself described the fall as losing her balance&lt;span&gt;.  &lt;/span&gt;Finally, &lt;/div&gt;
&lt;div&gt;the court observed that the police were not called and that no &lt;/div&gt;
&lt;div&gt;charges were filed related to the incident&lt;span&gt;.  &lt;span&gt;It&lt;/span&gt;&lt;/span&gt; concluded that there &lt;/div&gt;
&lt;div&gt;was no &lt;span&gt;â&lt;/span&gt;substantial evidence&lt;span&gt;â&lt;/span&gt; of domestic violence. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf1e" data-page-no="1e"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;27 &lt;/div&gt;
&lt;div&gt;Â¶ 59&lt;span&gt; &lt;/span&gt;&lt;span&gt;Even assuming that the court erred by not characterizing the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;incident as domestic violence&lt;span&gt;, &lt;/span&gt;we aren&lt;span&gt;â&lt;/span&gt;t persuaded that the error &lt;/div&gt;
&lt;div&gt;affected mother&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;substantial rights. &lt;/div&gt;
&lt;div&gt;Â¶ 60&lt;span&gt; &lt;/span&gt;&lt;span&gt;If&lt;span&gt; the court had found domestic violence, it would have been &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;required to (1) consider the statutory &lt;span&gt;â&lt;/span&gt;best interests&lt;span&gt;â&lt;/span&gt; factors in light&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;of that finding; (2) consider, &lt;span&gt;â&lt;/span&gt;as the primary concern, t&lt;span&gt;&lt;/span&gt;he safety and &lt;/div&gt;
&lt;div&gt;well-being of the child and the abused party&lt;span&gt;â&lt;/span&gt;; and (3) &lt;span&gt;â&lt;/span&gt;consider &lt;/div&gt;
&lt;div&gt;conditions on parenting time that ensure the safety of t&lt;span&gt;&lt;/span&gt;he child and &lt;/div&gt;
&lt;div&gt;abused party.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;Â§ &lt;span&gt;14&lt;span&gt;-&lt;span&gt;10&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;-124(4)(b), (d), (e).  Such conditions may &lt;/div&gt;
&lt;div&gt;include, but are not limited to  &lt;/div&gt;
&lt;div&gt;(I) [a]n order limiting contact between the &lt;/div&gt;
&lt;div&gt;parties . . . ; &lt;/div&gt;
&lt;div&gt;(II) [a]n order that requires the exchange of the &lt;/div&gt;
&lt;div&gt;child for parenting time to occur in a protected &lt;/div&gt;
&lt;div&gt;setting determined by the court; &lt;/div&gt;
&lt;div&gt;(III) [a]n order for supervised parenting time; &lt;/div&gt;
&lt;div&gt;(IV) [a]n order restricting overnight parenting &lt;/div&gt;
&lt;div&gt;time; &lt;/div&gt;
&lt;div&gt;(V) [a]n order that restricts the party who has &lt;/div&gt;
&lt;div&gt;committed domestic violence . . . from &lt;/div&gt;
&lt;div&gt;possessing or consuming alcohol or controlled &lt;/div&gt;
&lt;div&gt;substances during parenting time . . . ; &lt;/div&gt;
&lt;div&gt;(VI) [a]n order directing that the address of the &lt;/div&gt;
&lt;div&gt;child or of any party remain confidential; [and] &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf1f" data-page-no="1f"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;28 &lt;/div&gt;
&lt;div&gt;(VII) [a]n order that imposes any other &lt;/div&gt;
&lt;div&gt;condition on one or more parties that the court &lt;/div&gt;
&lt;div&gt;determines is necessary to protect the child, &lt;/div&gt;
&lt;div&gt;another party, or any other family or &lt;/div&gt;
&lt;div&gt;household member of a party. &lt;/div&gt;
&lt;div&gt;Â§ &lt;span&gt;14&lt;span&gt;-&lt;span&gt;10&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;-124(4)(e). &lt;/div&gt;
&lt;div&gt;Â¶ 61&lt;span&gt; &lt;/span&gt;&lt;span&gt;Mother doesn&lt;span&gt;â&lt;/span&gt;&lt;span&gt;t &lt;/span&gt;explain, and we can&lt;span&gt;â&lt;/span&gt;t discern, how a finding &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;characterizing the incident as domestic violence would have &lt;/div&gt;
&lt;div&gt;substantially influenced the outcome of the parenting time &lt;span&gt;&lt;/span&gt;order.  &lt;/div&gt;
&lt;div&gt;While we, like the trial court, recognize the seriousness of d&lt;span&gt;&lt;/span&gt;omestic &lt;/div&gt;
&lt;div&gt;violence, the legislature has deemed it a relevant, but&lt;span&gt;&lt;/span&gt; not &lt;/div&gt;
&lt;div&gt;necessarily dispositive factor in determining parenting time.&lt;span&gt;&lt;/span&gt;  &lt;/div&gt;
&lt;div&gt;Rather, a court must consider any finding of domestic violence &lt;/div&gt;
&lt;div&gt;alongside the myriad other statutory factors when determining &lt;span&gt;&lt;/span&gt;the &lt;/div&gt;
&lt;div&gt;all&lt;span&gt;ocation of parenting time in the childâs best interests&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;See Yat&lt;span&gt;&lt;/span&gt;es&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;148 P.3d at 308 (noting that âchild abuse or spousal &lt;span&gt;&lt;/span&gt;abuseâ are &lt;/div&gt;
&lt;div&gt;âbut two, albeit important&lt;span&gt;, factors in assessing the best interests of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the childâ&lt;span&gt;).&lt;span&gt;  &lt;span&gt;Here, the trial court awarded primary parenting time to &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;father despite its findings and concerns about the physical incident &lt;/div&gt;
&lt;div&gt;by the stairs.  Mother doesn&lt;span&gt;â&lt;/span&gt;t explain how a finding that t&lt;span&gt;&lt;/span&gt;his &lt;/div&gt;
&lt;div&gt;incident constituted domestic violence would have overcome the &lt;/div&gt;
&lt;div&gt;trial court&lt;span&gt;â&lt;/span&gt;s other findings that it was in S.P.&lt;span&gt;â&lt;/span&gt;s best interests to liv&lt;span&gt;&lt;/span&gt;e &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf20" data-page-no="20"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;29 &lt;/div&gt;
&lt;div&gt;primarily with father because father had been S.P.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;span&gt;â&lt;/span&gt;&lt;/span&gt;primary &lt;/div&gt;
&lt;div&gt;caregiver [and] caretaker.&lt;span&gt;â&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 62&lt;span&gt; &lt;/span&gt;&lt;span&gt;Moreover, mother doesn&lt;span&gt;â&lt;/span&gt;&lt;span&gt;t &lt;/span&gt;identify any statutorily enumerated &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;condition that she requested but the court declined to impose &lt;/div&gt;
&lt;div&gt;because it didn&lt;span&gt;â&lt;/span&gt;t find domestic violence.  &lt;span&gt;See&lt;/span&gt; Â§ &lt;span&gt;14&lt;span&gt;-&lt;span&gt;10&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;-124(4)(e) &lt;/div&gt;
&lt;div&gt;(listing potential parenting plan provisions if the court finds &lt;/div&gt;
&lt;div&gt;domestic violence).  For example, mother didn&lt;span&gt;â&lt;/span&gt;t request at trial that &lt;/div&gt;
&lt;div&gt;father&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s parenting time be supervised or that he not receive &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;overnight time, indicating that mother didn&lt;span&gt;â&lt;/span&gt;t think such meas&lt;span&gt;&lt;/span&gt;ures &lt;/div&gt;
&lt;div&gt;were necessary for S.P.&lt;span&gt;â&lt;/span&gt;s safety.  Additionally, mother&lt;span&gt;â&lt;/span&gt;s prop&lt;span&gt;&lt;/span&gt;osed &lt;/div&gt;
&lt;div&gt;parenting plan &lt;span&gt;â&lt;/span&gt; that she be the primary parent with extended &lt;/div&gt;
&lt;div&gt;parenting time permitted for father during the summers, al&lt;span&gt;&lt;/span&gt;ong with &lt;/div&gt;
&lt;div&gt;some school year time &lt;span&gt;â&lt;/span&gt; would have generated roughly the same &lt;/div&gt;
&lt;div&gt;amount of contact between father and mother as the pa&lt;span&gt;&lt;/span&gt;renting plan &lt;/div&gt;
&lt;div&gt;entered by the court. &lt;/div&gt;
&lt;div&gt;Â¶ 63&lt;span&gt; &lt;/span&gt;&lt;span&gt;On this record&lt;span&gt;, &lt;/span&gt;any error by the trial court in failing to make a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;finding of domestic violence isn&lt;span&gt;â&lt;/span&gt;t reversible. &lt;/div&gt;
&lt;div&gt;3.&lt;span&gt; &lt;span&gt;Nonphysical Domestic Abuse &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 64&lt;span&gt; &lt;/span&gt;&lt;span&gt;Mother also argues that the trial court erred by &lt;span&gt;â&lt;/span&gt;&lt;span&gt;ignoring&lt;span&gt;â&lt;/span&gt;&lt;/span&gt; the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;evidence she presented, including expert testimony, of incidents of &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf21" data-page-no="21"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTP4PFUFO62&amp;amp;Expires=1728835399&amp;amp;Signature=4A%2B%2BY7YsWaK5OkrRUG186a5yGCE%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEGcaCXVzLWVhc3QtMSJHMEUCIQDj1CuiMBzKiTOmyevNhHlRKhuHkdXM%2B2VqZikF4DjDcwIgPtllFgza212NqkQA0DkZJ%2FuEPnb0TsEwF211RX5vzNMqugUIwP%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDOT2V7C0c52REViZgCqOBdUSwTLuGMYGktN7T2kKOhWV%2Bvv0QZ%2BL8cAqFeYkdQXwkJ5nNeCWC12gNORlEAjTuxxmOrd%2FKMpQx0jv5IRj5cPwutAeuklAwydz52ri0SntU89cwtjVdC89CBH97reATK3bDlKwDY64OEZwN0phsPuduiwkG7gOnaI9YHuBp4VmVyxZlyRToDVPWdrZ9WcqvlvFvMBKuEkXm%2FpulTZNmfHvnlzzbuFCVY1R0NXpD54%2FXi8sMEiiCj3zqGnvDLYojKjRcpFEvdDBnCmgtFZvWjJRR9nFtwZe%2Bw3CpwyU0JajeJqisNxoVbmn2hu%2BIR7bw8WAQhEMrKGgXyKX9oiyVmpADWIBl0GNbOcSDw3KSaMWthmajIAgKJ4N%2FiOTcUUMxSQkIHmY44Qk3AKa3noRWN19mwADgZFWRSuqSJYxv2Q%2BOjavPOfyCzyw6KthythqeYUlgaSXU3K9DGNaYDRprDloG3L3VFvktkQ42R99FwV8V3qPnI01OThNGiq84D0otu8pDx0QMB%2FovHzNdRAx%2BPYNtpLBmYBrNL%2FOYB0aDQietkKE2RkWpQavmcAq9Klair9cb6jJ4RekvsT643xWsU%2FOLvE8PLruRQT%2F1N%2FX0UX5zjR%2Fb9JjqhEIxoKI3pc%2B9YHU3ZqNENeyOSWK1dj1V7r%2F1jEznV9kAGiCn4dGO7Xr6IcZJ6DtDO%2Btw6CAoi97vkf9DKKbKzUJCRG2L%2BcBx2ulcY4VQMD1bu%2Bmft5MfxFN2M7ySvjPfd82v7Va6o87UL78JXqnaYpZWBdVYcBrypmT265Qoxa0%2Bx3o2RAXFJJ9cMuT%2BkWoQknxb0cnJRMbGFkmtAbqyL7ZhZBEl%2BzbA6%2Fy3kuAFqOFh9RupyzQCDCFsK%2B4BjqxAcURJ%2FqYNzuTqitegtX%2BBIzdQCR1nTx5XnWsTF%2BOm7hFhjQWceI2TPXb6SAsZyWZJiFY5OWsMtMfmTBXG4UvF0bvyeDN%2F7hgOG5LJuZMNTsyvesxXU1rhtYNQyzT9D0iWIMZ%2Bk2qNM42tVL91kAKFFSdlgYmsuh8ioH%2FFVKzaOYwvtwD4lQhGpq23pRMpehyqcPDcD2m6h6%2Bq8qVznhGSa5QszFhRGi55iENsioF2IwvnA%3D%3D"&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;30 &lt;/div&gt;
&lt;div&gt;nonphysical domestic abuse&lt;span&gt;.  &lt;/span&gt;But the record reflects that the trial &lt;/div&gt;
&lt;div&gt;court consider&lt;span&gt;ed&lt;/span&gt; this evidence and found that mother&lt;span&gt;â&lt;/span&gt;s claims that &lt;/div&gt;
&lt;div&gt;(1) father controlled her financially; (2) father controlled her &lt;/div&gt;
&lt;div&gt;physical movemen&lt;span&gt;ts&lt;/span&gt;; and (3) father attempted to isolate himself, &lt;/div&gt;
&lt;div&gt;mother, and S.P. from friends and family weren&lt;span&gt;â&lt;/span&gt;t credible and were &lt;/div&gt;
&lt;div&gt;contradicted by other evidence. &lt;/div&gt;
&lt;div&gt;Â¶ 65&lt;span&gt; &lt;/span&gt;&lt;span&gt;As &lt;span&gt;for&lt;/span&gt; mother&lt;span&gt;â&lt;/span&gt;s expert, the court observed that &lt;span&gt;â&lt;/span&gt;&lt;span&gt;errors&lt;span&gt;â&lt;/span&gt;&lt;/span&gt; in the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;expert&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s report emerged on cross-examination and that t&lt;span&gt;&lt;/span&gt;he report &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;had limited persuasive value because the expert didn&lt;span&gt;â&lt;/span&gt;t observe any &lt;/div&gt;
&lt;div&gt;of the parties and spoke only with mother and heard &lt;span&gt;âher sideâ&lt;/span&gt;; the &lt;/div&gt;
&lt;div&gt;expert didnât speak&lt;span&gt; with father or S.P&lt;span&gt;.  &lt;/span&gt;It is the trial court&lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;responsibility to judge witness credibility&lt;span&gt;, &lt;/span&gt;determine the weight and &lt;/div&gt;
&lt;div&gt;probative value of the evidence&lt;span&gt;, &lt;/span&gt;and resolve evidentiary conflicts, &lt;/div&gt;
&lt;div&gt;and we may not disturb its findings in this regard.  &lt;span&gt;Hatt&lt;span&gt;&lt;/span&gt;on&lt;span&gt;, 160 &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;P.3d &lt;span&gt;at&lt;/span&gt; 330&lt;span&gt;; &lt;/span&gt;&lt;span&gt;Yates&lt;/span&gt;, 148 P.3d at 318.&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;4&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;4&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; Because of our conclusion, we need not address whether the &lt;/div&gt;
&lt;div&gt;nonphysical incidents described by mother can be classified as &lt;/div&gt;
&lt;div&gt;â&lt;span&gt;domestic violence&lt;/span&gt;â&lt;span&gt; under section &lt;span&gt;14&lt;span&gt;-&lt;span&gt;10&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;-124(1.3)(b), C.R.S.&lt;span&gt;&lt;/span&gt; 2024. &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pf21" data-dest-detail='[33,"XYZ",69,121,null]'&gt;&lt;div style="border-style:none;position:absolute;left:406.831667px;bottom:290.004444px;width:10.080000px;height:32.890000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf22" data-page-no="22"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;31 &lt;/div&gt;
&lt;div&gt;V.&lt;span&gt; &lt;span&gt;Attorney Fees Under Section &lt;span&gt;14&lt;span&gt;-&lt;span&gt;10&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;-128.5 &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 66&lt;span&gt; &lt;/span&gt;&lt;span&gt;Mother argues that the trial court erred &lt;span&gt;by&lt;/span&gt; granting father &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;attorney fees under section 14-&lt;span&gt;10&lt;/span&gt;-128.5.  We agree in part&lt;span&gt;. &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;A.&lt;span&gt; &lt;span&gt;Legal Principles and Standard of Review &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 67&lt;span&gt; &lt;/span&gt;&lt;span&gt;Section 14-&lt;span&gt;10&lt;/span&gt;-128.5(2) provides, in relevant part, as follows: &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;In circumstances in which a party moves for a &lt;/div&gt;
&lt;div&gt;de novo hearing by the court, if the court, in &lt;/div&gt;
&lt;div&gt;its discretion based on the pleadings filed, &lt;/div&gt;
&lt;div&gt;grants the motion and the court substantially &lt;/div&gt;
&lt;div&gt;upholds the decision of the arbitrator, the &lt;/div&gt;
&lt;div&gt;party that requested the de novo hearing shall &lt;/div&gt;
&lt;div&gt;be ordered to pay the fees and costs of the &lt;/div&gt;
&lt;div&gt;other party and the fees of the arbitrator &lt;/div&gt;
&lt;div&gt;incurred in responding to the application or &lt;/div&gt;
&lt;div&gt;motion unless the court finds that it would be &lt;/div&gt;
&lt;div&gt;manifestly unjust. &lt;/div&gt;
&lt;div&gt;Â¶ 68&lt;span&gt; &lt;span&gt;â&lt;span&gt;Interpretation of a statute is a question of law that we &lt;span&gt;&lt;/span&gt;review &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;de novo.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;&lt;span&gt;In re Marriage of DeZalia&lt;/span&gt;, 151 P.3d 647, 648 (Colo. App. &lt;/div&gt;
&lt;div&gt;2006).  &lt;span&gt;â&lt;/span&gt;In construing a statute, we strive to give effect to &lt;span&gt;&lt;/span&gt;the intent &lt;/div&gt;
&lt;div&gt;of the legislature and adopt the statutory construction that&lt;span&gt;&lt;/span&gt; best &lt;/div&gt;
&lt;div&gt;effectuates the purposes of the legislative scheme, looking f&lt;span&gt;&lt;/span&gt;irst to &lt;/div&gt;
&lt;div&gt;the plain language of the statute.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;&lt;span&gt;In re Marriage of Ci&lt;span&gt;&lt;/span&gt;esluk&lt;span&gt;, 113 &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;P.3d 135, 141 (Colo. 2005).  If the meaning of a stat&lt;span&gt;&lt;/span&gt;ute is clear and &lt;/div&gt;
&lt;div&gt;unambiguous, courts need not resort to interpretive rules to divine &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf23" data-page-no="23"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;32 &lt;/div&gt;
&lt;div&gt;the General Assembly&lt;span&gt;â&lt;/span&gt;s intent.  &lt;span&gt;In re Marriage of Schmitt&lt;/span&gt;, 89 P.3d &lt;/div&gt;
&lt;div&gt;510, 511 (Colo. App. 2004).  &lt;/div&gt;
&lt;div&gt;B.&lt;span&gt; &lt;span&gt;Meaning of &lt;span&gt;â&lt;/span&gt;Substantially Uphold&lt;span&gt;â&lt;/span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 69&lt;span&gt; &lt;/span&gt;&lt;span&gt;Mother first argues that the trial court did not substantially &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;uphold the arbitrator&lt;span&gt;â&lt;/span&gt;s award because, even though the result &lt;span&gt;&lt;/span&gt;was &lt;/div&gt;
&lt;div&gt;similar, &lt;span&gt;â&lt;/span&gt;the reasoning behind the result was substant&lt;span&gt;&lt;/span&gt;ially &lt;/div&gt;
&lt;div&gt;different.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;span&gt;We disagree.  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 70&lt;span&gt; &lt;/span&gt;&lt;span&gt;The arbitrator ordered that S.P. would primarily reside with &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;father in North Carolina and mother would have parenting time &lt;/div&gt;
&lt;div&gt;during the majority of school vacations, along with certain &lt;/div&gt;
&lt;div&gt;alternating holidays during the school year.  The trial court &lt;/div&gt;
&lt;div&gt;substantially upheld that order because it also named father t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;primary residential parent, giving mother parenting time during &lt;span&gt;&lt;/span&gt;the &lt;/div&gt;
&lt;div&gt;majority of school vacations along with some weekend parenting &lt;/div&gt;
&lt;div&gt;time during the school year.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;See&lt;/span&gt; Black&lt;span&gt;â&lt;/span&gt;s Law Dictionary 1734-&lt;span&gt;35&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;(1&lt;span&gt;2th ed. 20&lt;span&gt;24&lt;/span&gt;) (defining &lt;span&gt;â&lt;/span&gt;&lt;span&gt;substantial&lt;span&gt;â&lt;/span&gt;&lt;/span&gt; &lt;span&gt;as &lt;span&gt;â&lt;/span&gt;&lt;/span&gt;[c]ontaining the essence &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;of a thing; conveying the right idea even if not the exact details&lt;span&gt;â&lt;/span&gt;). &lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 71&lt;span&gt; &lt;/span&gt;&lt;span&gt;We acknowledge that the trial court&lt;span&gt;â&lt;/span&gt;s reasoning for allocating &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;parenting time primarily to father differed from the arbitrator&lt;span&gt;â&lt;/span&gt;s &lt;/div&gt;
&lt;div&gt;reasoning.  But nothing in the statute distinguishes the result from &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf24" data-page-no="24"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;33 &lt;/div&gt;
&lt;div&gt;the reasoning or suggests that both must be the same to trigge&lt;span&gt;&lt;/span&gt;r &lt;span&gt;a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;fee award&lt;span&gt;.  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 72&lt;span&gt; &lt;/span&gt;&lt;span&gt;In a similar vein, mother argues that, because her reasons for &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;requesting a de novo hearing were not frivolous, the statute &lt;/div&gt;
&lt;div&gt;punishes her for raising a legitimate concern with the arbitrator&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;decision&lt;span&gt;.  &lt;span&gt;However, the language of the statute doesn&lt;span&gt;â&lt;/span&gt;t provide any &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;exception to the mandatory fee award simply because the &lt;/div&gt;
&lt;div&gt;challenging party raises valid concerns with the arbitrator&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;decision or reasoning&lt;span&gt;. &lt;/span&gt; We &lt;span&gt;can&lt;span&gt;â&lt;/span&gt;&lt;/span&gt;t read requirements into the statute &lt;/div&gt;
&lt;div&gt;that don&lt;span&gt;â&lt;/span&gt;t exist.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;See Hobbs v. City of Salida&lt;/span&gt;, 2024 COA 25, Â¶ 20 &lt;/div&gt;
&lt;div&gt;(We &lt;span&gt;can&lt;span&gt;â&lt;/span&gt;&lt;/span&gt;t &lt;span&gt;â&lt;/span&gt;rewrite a statute to achieve a different res&lt;span&gt;&lt;/span&gt;ult than that &lt;/div&gt;
&lt;div&gt;dictated by the legislature&lt;span&gt;â&lt;/span&gt;s selected language.&lt;span&gt;â&lt;/span&gt;). &lt;/div&gt;
&lt;div&gt;C.&lt;span&gt; &lt;span&gt;Scope of Attorney Fees Awarded &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 73&lt;span&gt; &lt;/span&gt;&lt;span&gt;Mother next contends that the trial court erred by (1) awarding &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;father fees and costs incurred before mother filed her motion fo&lt;span&gt;&lt;/span&gt;r &lt;span&gt;a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;de novo hearing and (2) awarding father fees and costs incurred in &lt;/div&gt;
&lt;div&gt;preparing for and attending the hearing&lt;span&gt;.  &lt;/span&gt;We agree with the first &lt;/div&gt;
&lt;div&gt;contention but reject the second. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf25" data-page-no="25"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;34 &lt;/div&gt;
&lt;div&gt;1.&lt;span&gt; &lt;span&gt;Fees Incurred Before the Motion  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 74&lt;span&gt; &lt;/span&gt;&lt;span&gt;The plain language of section 14-&lt;span&gt;10&lt;/span&gt;-128.5(2) requires mother &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;to pay fatherâs fees incurred in âresponding to the application &lt;span&gt;&lt;/span&gt;or &lt;/div&gt;
&lt;div&gt;motionâ for a de novo hearing.  &lt;span&gt;Mother filed her motion for &lt;span&gt;a &lt;/span&gt;de &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;novo hearing on October 31, 2022&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;Father&lt;span&gt;â&lt;/span&gt;&lt;/span&gt;s request for attorney &lt;/div&gt;
&lt;div&gt;fees contained billing entries for fees incurred from Septem&lt;span&gt;&lt;/span&gt;ber 26, &lt;/div&gt;
&lt;div&gt;2022, through February 9, 2023&lt;span&gt;.  &lt;/span&gt;The court awarded father all of &lt;/div&gt;
&lt;div&gt;his requested fees.  But any fees or costs incurred before mother &lt;/div&gt;
&lt;div&gt;filed the motion for a de novo hearing cannot logically &lt;span&gt;be&lt;/span&gt; incur&lt;span&gt;&lt;/span&gt;red &lt;/div&gt;
&lt;div&gt;in &lt;span&gt;responding&lt;/span&gt; to that motion.  Accordingly, father is not entitled t&lt;span&gt;&lt;/span&gt;o &lt;/div&gt;
&lt;div&gt;recover those fees and costs&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;See&lt;/span&gt; Â§ &lt;span&gt;14&lt;/span&gt;&lt;span&gt;-&lt;span&gt;10&lt;/span&gt;-128.5.&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;The court &lt;/div&gt;
&lt;div&gt;therefore erred to the extent it awarded father any fees &lt;span&gt;&lt;/span&gt;incurred &lt;/div&gt;
&lt;div&gt;before mother filed the motion for a de novo hearing&lt;span&gt;. &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;2.&lt;span&gt; &lt;span&gt;Fees Incurred in Preparing for and Attending the De&lt;span&gt;&lt;/span&gt; Novo &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Hearing &lt;/div&gt;
&lt;div&gt;Â¶ 75&lt;span&gt; &lt;/span&gt;&lt;span&gt;We reject mother&lt;span&gt;â&lt;/span&gt;s argument that &lt;span&gt;the statuteâs plain&lt;/span&gt; language &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;limits the recoverable fees to those incurred in filing the objection t&lt;span&gt;&lt;/span&gt;o &lt;/div&gt;
&lt;div&gt;the motion for the de novo hearing and attending the &lt;span&gt;case &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;management conference where the trial court determined whether &lt;/div&gt;
&lt;div&gt;to grant it&lt;span&gt;.  &lt;/span&gt;Rather, fees incurred in &lt;span&gt;â&lt;/span&gt;&lt;span&gt;responding&lt;span&gt;â&lt;/span&gt;&lt;/span&gt; to a motion for a &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf26" data-page-no="26"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;35 &lt;/div&gt;
&lt;div&gt;de novo hearing necessarily include fees incurred in preparing for &lt;/div&gt;
&lt;div&gt;and attending the hearing once the motion &lt;span&gt;is&lt;/span&gt; granted. &lt;/div&gt;
&lt;div&gt;Â¶ 76&lt;span&gt; &lt;/span&gt;&lt;span&gt;The surrounding statutory language supports this &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;interpretation.  If the legislature were concerned only about the f&lt;span&gt;&lt;/span&gt;ees &lt;/div&gt;
&lt;div&gt;incurred in objecting to a motion for a de novo hearing (and not the &lt;/div&gt;
&lt;div&gt;fees incurred after the hearing was granted), it would have made &lt;/div&gt;
&lt;div&gt;such fees recoverable even if the court simply denied the &lt;span&gt;&lt;/span&gt;motion &lt;/div&gt;
&lt;div&gt;and declined to hold a hearing, thereby leaving the arbitrato&lt;span&gt;&lt;/span&gt;r&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;award in place.&lt;span&gt;  &lt;/span&gt;By making the fees recoverable only if the &lt;span&gt;&lt;/span&gt;court &lt;/div&gt;
&lt;div&gt;holds a hearing&lt;span&gt; and substantially upholds the arbitration award, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the legislature signaled its intent to award not only the fees &lt;/div&gt;
&lt;div&gt;incurred in objecting to the motion but also the fees incurred in &lt;/div&gt;
&lt;div&gt;connection with the hearing itself. &lt;/div&gt;
&lt;div&gt;D.&lt;span&gt; &lt;span&gt;â&lt;span&gt;Manifestly Unjust&lt;/span&gt;â&lt;span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 77&lt;span&gt; &lt;/span&gt;&lt;span&gt;Mother also argues that, given the disparity between her &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;income and father&lt;span&gt;â&lt;/span&gt;s income, the trial court should have denie&lt;span&gt;&lt;/span&gt;d the &lt;/div&gt;
&lt;div&gt;otherwise-mandatory fee award as manifestly unjust. &lt;span&gt;&lt;/span&gt; &lt;span&gt;See &lt;/span&gt;Â§ &lt;span&gt;14&lt;/span&gt;&lt;span&gt;-&lt;span&gt;10&lt;/span&gt;-&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;128.5(2). &lt;/div&gt;
&lt;div&gt;Â¶ 78&lt;span&gt; &lt;/span&gt;&lt;span&gt;A determination that awarding fees under the statute would be &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;âmanifestly&lt;span&gt; &lt;span&gt;unjustâ is an equitable decision that we review fo&lt;span&gt;&lt;/span&gt;r an &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf27" data-page-no="27"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;36 &lt;/div&gt;
&lt;div&gt;abuse of discretion&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;Cf. In re Marriage of Rodrick&lt;/span&gt;, 176 P.3d 806, &lt;/div&gt;
&lt;div&gt;815-16 (Colo. App. 2007) (noting that a trial court has b&lt;span&gt;&lt;/span&gt;road &lt;/div&gt;
&lt;div&gt;discretion to award attorney fees under section &lt;span&gt;14&lt;/span&gt;&lt;span&gt;-&lt;span&gt;10&lt;/span&gt;&lt;/span&gt;-119, C.R.S. &lt;/div&gt;
&lt;div&gt;2024&lt;span&gt;);&lt;span&gt; &lt;span&gt;In re Marriage of Hein&lt;span&gt;, 253 P.3d 636, 637 (Colo. Ap&lt;span&gt;&lt;/span&gt;p. 2010) &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(noting that the trial court has discretion to determine whether t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;presumptive amount of child support is &lt;span&gt;â&lt;/span&gt;inequitable, unjust, or &lt;/div&gt;
&lt;div&gt;inappropriate,&lt;span&gt;â&lt;/span&gt;&lt;span&gt; thereby justifying &lt;span&gt;a &lt;/span&gt;deviation from the child s&lt;span&gt;&lt;/span&gt;upport &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;guidelines). &lt;/div&gt;
&lt;div&gt;Â¶ 79&lt;span&gt; &lt;/span&gt;&lt;span&gt;The trial court&lt;span&gt;â&lt;/span&gt;s attorney fees order granted father all his &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;requested fees without addressing mother&lt;span&gt;â&lt;/span&gt;s contention that&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;awarding fees would be manifestly unjust.  Thus, we are unabl&lt;span&gt;&lt;/span&gt;e to &lt;/div&gt;
&lt;div&gt;determine the basis of its decision.  &lt;span&gt;See In re Marriage of Rozzi&lt;/span&gt;, 190 &lt;/div&gt;
&lt;div&gt;P.3d 815, 822 (Colo. App. 2008) (A trial court order must contain &lt;/div&gt;
&lt;div&gt;sufficient findings of fact and conclusions of law to enable an &lt;/div&gt;
&lt;div&gt;appellate court to &lt;span&gt;â&lt;/span&gt;determine the grounds upon which it &lt;span&gt;&lt;/span&gt;rendered &lt;/div&gt;
&lt;div&gt;its decision.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;).&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;On remand, the court should consider whether the &lt;/div&gt;
&lt;div&gt;award of fees for the proceedings below is manifestly unjust in light&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;of the partiesâ economic circumstances at the time of &lt;span&gt;&lt;/span&gt;remand, &lt;span&gt;cf. In &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;re Marriage of Wells&lt;span&gt;, 850 P.2d 694, 696 (Colo. 1993) (concl&lt;span&gt;&lt;/span&gt;uding &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that a court must consider the partiesâ economic circumstances &lt;span&gt;&lt;/span&gt;at &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf28" data-page-no="28"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTP4PFUFO62&amp;amp;Expires=1728835399&amp;amp;Signature=4A%2B%2BY7YsWaK5OkrRUG186a5yGCE%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEGcaCXVzLWVhc3QtMSJHMEUCIQDj1CuiMBzKiTOmyevNhHlRKhuHkdXM%2B2VqZikF4DjDcwIgPtllFgza212NqkQA0DkZJ%2FuEPnb0TsEwF211RX5vzNMqugUIwP%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDOT2V7C0c52REViZgCqOBdUSwTLuGMYGktN7T2kKOhWV%2Bvv0QZ%2BL8cAqFeYkdQXwkJ5nNeCWC12gNORlEAjTuxxmOrd%2FKMpQx0jv5IRj5cPwutAeuklAwydz52ri0SntU89cwtjVdC89CBH97reATK3bDlKwDY64OEZwN0phsPuduiwkG7gOnaI9YHuBp4VmVyxZlyRToDVPWdrZ9WcqvlvFvMBKuEkXm%2FpulTZNmfHvnlzzbuFCVY1R0NXpD54%2FXi8sMEiiCj3zqGnvDLYojKjRcpFEvdDBnCmgtFZvWjJRR9nFtwZe%2Bw3CpwyU0JajeJqisNxoVbmn2hu%2BIR7bw8WAQhEMrKGgXyKX9oiyVmpADWIBl0GNbOcSDw3KSaMWthmajIAgKJ4N%2FiOTcUUMxSQkIHmY44Qk3AKa3noRWN19mwADgZFWRSuqSJYxv2Q%2BOjavPOfyCzyw6KthythqeYUlgaSXU3K9DGNaYDRprDloG3L3VFvktkQ42R99FwV8V3qPnI01OThNGiq84D0otu8pDx0QMB%2FovHzNdRAx%2BPYNtpLBmYBrNL%2FOYB0aDQietkKE2RkWpQavmcAq9Klair9cb6jJ4RekvsT643xWsU%2FOLvE8PLruRQT%2F1N%2FX0UX5zjR%2Fb9JjqhEIxoKI3pc%2B9YHU3ZqNENeyOSWK1dj1V7r%2F1jEznV9kAGiCn4dGO7Xr6IcZJ6DtDO%2Btw6CAoi97vkf9DKKbKzUJCRG2L%2BcBx2ulcY4VQMD1bu%2Bmft5MfxFN2M7ySvjPfd82v7Va6o87UL78JXqnaYpZWBdVYcBrypmT265Qoxa0%2Bx3o2RAXFJJ9cMuT%2BkWoQknxb0cnJRMbGFkmtAbqyL7ZhZBEl%2BzbA6%2Fy3kuAFqOFh9RupyzQCDCFsK%2B4BjqxAcURJ%2FqYNzuTqitegtX%2BBIzdQCR1nTx5XnWsTF%2BOm7hFhjQWceI2TPXb6SAsZyWZJiFY5OWsMtMfmTBXG4UvF0bvyeDN%2F7hgOG5LJuZMNTsyvesxXU1rhtYNQyzT9D0iWIMZ%2Bk2qNM42tVL91kAKFFSdlgYmsuh8ioH%2FFVKzaOYwvtwD4lQhGpq23pRMpehyqcPDcD2m6h6%2Bq8qVznhGSa5QszFhRGi55iENsioF2IwvnA%3D%3D"&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;37 &lt;/div&gt;
&lt;div&gt;the time of remand when dividing property); &lt;span&gt;In re Marriage of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Martin&lt;span&gt;, 2021 COA 101, Â¶ 42 (directing trial court to consi&lt;span&gt;&lt;/span&gt;der &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;economic circumstances at the time of remand when determining &lt;/div&gt;
&lt;div&gt;appellate attorney fees under section 14-&lt;span&gt;10&lt;/span&gt;-119), and make &lt;/div&gt;
&lt;div&gt;sufficient findings to enable a reviewing court to determin&lt;span&gt;&lt;/span&gt;e the &lt;/div&gt;
&lt;div&gt;basis of its order, &lt;span&gt;see&lt;/span&gt; &lt;span&gt;Rozzi&lt;/span&gt;, 190 P.3d at 822.&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;5&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  While a trial court &lt;/div&gt;
&lt;div&gt;may conclude that an attorney fee award under section 14-&lt;span&gt;10&lt;/span&gt;-&lt;/div&gt;
&lt;div&gt;128.5 is manifestly unjust based on the partiesâ economic &lt;/div&gt;
&lt;div&gt;circumstances, that determination is not the same as the &lt;/div&gt;
&lt;div&gt;determination about whether to award attorney fees und&lt;span&gt;&lt;/span&gt;er section &lt;/div&gt;
&lt;div&gt;14&lt;span&gt;-&lt;span&gt;10&lt;span&gt;-119&lt;span&gt;. &lt;span&gt;  &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;VI.&lt;span&gt; &lt;/span&gt;&lt;span&gt;Child Support &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 80&lt;span&gt; &lt;/span&gt;&lt;span&gt;Mother contends that the court erred by entering father&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;proposed child support order without evidence as to (1) the &lt;span&gt;&lt;/span&gt;number &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;5&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; To the extent mother argues that the fee award was also unju&lt;span&gt;&lt;/span&gt;st &lt;/div&gt;
&lt;div&gt;because she had a legitimate complaint regarding the arbitrat&lt;span&gt;&lt;/span&gt;orâs &lt;/div&gt;
&lt;div&gt;reasoning, we decline to address this argument because it isnât&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;preserved.  &lt;span&gt;Berra v. Springer &amp;amp; Steinberg, P.C.&lt;/span&gt;, 251 P.3d 567, &lt;span&gt;&lt;/span&gt;570 &lt;/div&gt;
&lt;div&gt;(Colo. App. 2010).  While we direct the trial court to &lt;span&gt;&lt;/span&gt;consider the &lt;/div&gt;
&lt;div&gt;partiesâ economic &lt;span&gt;circumstances on remand, we express n&lt;span&gt;&lt;/span&gt;o opinion &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;about what other factors a court may consider when determining&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;whether a fee award under section 14-&lt;span&gt;10&lt;/span&gt;-128.5, C.R.S. 2024, is &lt;/div&gt;
&lt;div&gt;âmanifestly unjust.â&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pf28" data-dest-detail='[40,"XYZ",69,219,null]'&gt;&lt;div style="border-style:none;position:absolute;left:484.086111px;bottom:667.971111px;width:10.080000px;height:32.880000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf29" data-page-no="29"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;38 &lt;/div&gt;
&lt;div&gt;of overnights S.P. would have with each parent and (2) fath&lt;span&gt;&lt;/span&gt;er&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;expenses for work-related child care and health insurance.  &lt;span&gt;&lt;/span&gt;We &lt;/div&gt;
&lt;div&gt;agree. &lt;/div&gt;
&lt;div&gt;Â¶ 81&lt;span&gt; &lt;/span&gt;&lt;span&gt;Initially, we disagree with father that mother failed to preserve &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;this contention for review.  Mother&lt;span&gt;â&lt;/span&gt;s claim didn&lt;span&gt;â&lt;/span&gt;t arise until the &lt;/div&gt;
&lt;div&gt;court entered father&lt;span&gt;â&lt;/span&gt;s proposed child support order, and a pa&lt;span&gt;&lt;/span&gt;rty &lt;/div&gt;
&lt;div&gt;isn&lt;span&gt;â&lt;/span&gt;&lt;span&gt;t required to file a post-trial motion in order to appeal&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;See &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;C.R.C.P. 59(b).&lt;span&gt;  &lt;span&gt;We&lt;/span&gt;&lt;/span&gt; also reject father&lt;span&gt;â&lt;/span&gt;s suggestion, to the extent he &lt;/div&gt;
&lt;div&gt;makes it, that mother waived this contention by failing &lt;span&gt;&lt;/span&gt;to present &lt;/div&gt;
&lt;div&gt;evidence on this issue during the de novo hearing.  Although &lt;span&gt;&lt;/span&gt;the &lt;/div&gt;
&lt;div&gt;parties apparently agreed in advance to leave the issue of child &lt;/div&gt;
&lt;div&gt;support open pending the result of the de novo hearing, &lt;span&gt;&lt;/span&gt;the subject &lt;/div&gt;
&lt;div&gt;of the hearing was strictly limited to parenting time and d&lt;span&gt;&lt;/span&gt;ecision-&lt;/div&gt;
&lt;div&gt;making. &lt;/div&gt;
&lt;div&gt;Â¶ 82&lt;span&gt; &lt;/span&gt;&lt;span&gt;The amount of child support due from one parent to the &lt;span&gt;&lt;/span&gt;other &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;is calculated based on the incomes of the parents and, as relevant &lt;/div&gt;
&lt;div&gt;here, the number of overnights with each parent and expenditures &lt;/div&gt;
&lt;div&gt;paid directly by each parent for work-related child care costs and &lt;/div&gt;
&lt;div&gt;the child&lt;span&gt;â&lt;/span&gt;s portion of health insurance premiums&lt;span&gt;.  &lt;/span&gt;Â§ &lt;span&gt;14&lt;span&gt;-&lt;span&gt;10&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;span&gt;-115(8)-&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(10), C.R.S. 2024&lt;span&gt;. &lt;/span&gt; &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf2a" data-page-no="2a"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;39 &lt;/div&gt;
&lt;div&gt;Â¶ 83&lt;span&gt; &lt;/span&gt;&lt;span&gt;Father submitted a proposed, unsworn child support &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;worksheet indicating that he had 273 overnights or more wit&lt;span&gt;&lt;/span&gt;h S.P. &lt;/div&gt;
&lt;div&gt;per year; he paid $1,004 per month in work-related child care; and &lt;/div&gt;
&lt;div&gt;S.P.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s portion of the health insurance premium was $215 pe&lt;span&gt;&lt;/span&gt;r &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;month&lt;span&gt;.  &lt;span&gt;This resulted in a child support payment of $1,043.53 per &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;month from mother to father in &lt;span&gt;â&lt;/span&gt;&lt;span&gt;current&lt;span&gt;â&lt;/span&gt;&lt;/span&gt; child support and a t&lt;span&gt;&lt;/span&gt;otal &lt;/div&gt;
&lt;div&gt;of $8,348.24 in child support arrears.  Father used these amounts &lt;/div&gt;
&lt;div&gt;in his proposed support order. &lt;/div&gt;
&lt;div&gt;Â¶ 84&lt;span&gt; &lt;/span&gt;&lt;span&gt;When the court adopted father&lt;span&gt;â&lt;/span&gt;s proposed order, it implicitly &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;adopted his overnight and expense figures as its factual findings.  &lt;/div&gt;
&lt;div&gt;Though we defer to a trial court&lt;span&gt;â&lt;/span&gt;s factual findings if they are &lt;/div&gt;
&lt;div&gt;supported by any evidence in the record, &lt;span&gt;In re Marria&lt;span&gt;&lt;/span&gt;ge of Young&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2021 COA 96, Â¶ 8, we see no such evidence here.  While overnights &lt;/div&gt;
&lt;div&gt;are sometimes calculable from the face of a parenting &lt;span&gt;&lt;/span&gt;plan, the &lt;/div&gt;
&lt;div&gt;court&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s parenting plan in this case was based on S.P.&lt;span&gt;â&lt;/span&gt;s school &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;calendar.  Without that calendar, we can&lt;span&gt;â&lt;/span&gt;t discern whether the &lt;/div&gt;
&lt;div&gt;number of overnights was correct.  And as far as we can tell,&lt;span&gt;&lt;/span&gt; there &lt;/div&gt;
&lt;div&gt;isn&lt;span&gt;â&lt;/span&gt;&lt;span&gt;t any evidence supporting father&lt;span&gt;â&lt;/span&gt;s expenses. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 85&lt;span&gt; &lt;/span&gt;&lt;span&gt;Accordingly, we reverse the trial court&lt;span&gt;â&lt;/span&gt;s support order and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;remand the case to the trial court to recalculate child sup&lt;span&gt;&lt;/span&gt;port.  On &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf2b" data-page-no="2b"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;40 &lt;/div&gt;
&lt;div&gt;remand, the trial court may take additional evidence as &lt;span&gt;&lt;/span&gt;necessary &lt;/div&gt;
&lt;div&gt;to support its calculation.  &lt;span&gt;See&lt;/span&gt;&lt;span&gt; &lt;/span&gt;&lt;span&gt;In re Marriage of Cora&lt;span&gt;&lt;/span&gt;k&lt;span&gt;, 2014 COA &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;147, Â¶ 21 (noting that the trial court has discretion to &lt;span&gt;&lt;/span&gt;receive &lt;/div&gt;
&lt;div&gt;additional evidence on remand). &lt;/div&gt;
&lt;div&gt;VII.&lt;span&gt; &lt;/span&gt;&lt;span&gt;Miscellaneous Contentions &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 86&lt;span&gt; &lt;/span&gt;&lt;span&gt;Finally, mother contends that the trial court erred by &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(1&lt;span&gt;) checking a box on the decree of dissolution of marriage &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;indicating that mother was represented by counsel even though her &lt;/div&gt;
&lt;div&gt;counsel withdrew shortly after the de novo hearing and (2) failing to &lt;/div&gt;
&lt;div&gt;notify mother of the October 2023 orders.&lt;span&gt;  &lt;/span&gt;We can&lt;span&gt;â&lt;/span&gt;t discern how t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;â&lt;span&gt;check box&lt;/span&gt;â&lt;span&gt; error would result in prejudice to mother.&lt;span&gt;&lt;/span&gt;  While failure &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;to receive notice of a &lt;span&gt;courtâs&lt;/span&gt; orders could certainly prejudice a &lt;/div&gt;
&lt;div&gt;party&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s appellate rights, mother timely appealed the orders.  And &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;mother doesn&lt;span&gt;â&lt;/span&gt;t otherwise explain how either of these purported &lt;/div&gt;
&lt;div&gt;errors prejudiced her.  Accordingly, we conclude that the &lt;span&gt;&lt;/span&gt;errors, if &lt;/div&gt;
&lt;div&gt;any, aren&lt;span&gt;â&lt;/span&gt;t reversible because they didn&lt;span&gt;â&lt;/span&gt;t affect mother&lt;span&gt;â&lt;/span&gt;s substantial &lt;/div&gt;
&lt;div&gt;rights.  &lt;span&gt;See &lt;/span&gt;C.R.C.P. 61.  &lt;/div&gt;
&lt;div&gt;VIII.&lt;span&gt; &lt;/span&gt;&lt;span&gt;Appellate Attorney Fees &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 87&lt;span&gt; &lt;/span&gt;&lt;span&gt;Mother requests her appellate attorney fees under section 14-&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;10&lt;span&gt;-&lt;span&gt;119&lt;span&gt; because of the disparity in the parties&lt;span&gt;â&lt;/span&gt; incomes.  Father &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf2c" data-page-no="2c"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;41 &lt;/div&gt;
&lt;div&gt;opposes her request, arguing that mother &lt;span&gt;â&lt;/span&gt;should be financially &lt;/div&gt;
&lt;div&gt;secure&lt;span&gt;â&lt;/span&gt;&lt;span&gt; with her income, spousal maintenance payments, and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;money she received from the property division.   &lt;/div&gt;
&lt;div&gt;Â¶ 88&lt;span&gt; &lt;/span&gt;&lt;span&gt;Father requests his appellate attorney fees under both section &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;14&lt;span&gt;-&lt;span&gt;10&lt;span&gt;-128.5 and section 14-&lt;/span&gt;10&lt;span&gt;-&lt;/span&gt;119&lt;span&gt;.&lt;span&gt;  &lt;span&gt;Regarding section 14-&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;10&lt;span&gt;-&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;128.5, unless such an award of fees would be manifestly unjust,&lt;span&gt;&lt;/span&gt; we &lt;/div&gt;
&lt;div&gt;agree that father is entitled to the fees incurred in successf&lt;span&gt;&lt;/span&gt;ully &lt;/div&gt;
&lt;div&gt;defending the trial &lt;span&gt;courtâs parenting time orders on appeal. &lt;span&gt;&lt;/span&gt; &lt;span&gt;See &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Levy-Wegrzyn v. Ediger&lt;span&gt;, 899 P.2d 230, 233 (Colo. App. 1&lt;span&gt;&lt;/span&gt;994) (When &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;âa party, pursuant to a statute, has been appropriately awar&lt;span&gt;&lt;/span&gt;ded &lt;/div&gt;
&lt;div&gt;attorney fees for a stage of the proceeding prior to the appeal, t&lt;span&gt;&lt;/span&gt;hat &lt;/div&gt;
&lt;div&gt;party will be entitled to reasonable attorney fees for defen&lt;span&gt;&lt;/span&gt;ding the &lt;/div&gt;
&lt;div&gt;appeal.â).  &lt;span&gt;Mother opposes f&lt;/span&gt;atherâs request, arguing that an &lt;span&gt;&lt;/span&gt;award &lt;/div&gt;
&lt;div&gt;of appellate fees to father would be manifestly unjust due to the &lt;/div&gt;
&lt;div&gt;partiesâ disparate financial circumstances&lt;span&gt;. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 89&lt;span&gt; &lt;/span&gt;&lt;span&gt;Because the district court is in a better position than we are to &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;make findings about the partiesâ financial circumstances, we &lt;span&gt;&lt;/span&gt;direct &lt;/div&gt;
&lt;div&gt;the court to consider &lt;span&gt;both partiesâ appellate fee&lt;/span&gt; requests on reman&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf2d" data-page-no="2d"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTP4PFUFO62&amp;amp;Expires=1728835399&amp;amp;Signature=4A%2B%2BY7YsWaK5OkrRUG186a5yGCE%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEGcaCXVzLWVhc3QtMSJHMEUCIQDj1CuiMBzKiTOmyevNhHlRKhuHkdXM%2B2VqZikF4DjDcwIgPtllFgza212NqkQA0DkZJ%2FuEPnb0TsEwF211RX5vzNMqugUIwP%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDOT2V7C0c52REViZgCqOBdUSwTLuGMYGktN7T2kKOhWV%2Bvv0QZ%2BL8cAqFeYkdQXwkJ5nNeCWC12gNORlEAjTuxxmOrd%2FKMpQx0jv5IRj5cPwutAeuklAwydz52ri0SntU89cwtjVdC89CBH97reATK3bDlKwDY64OEZwN0phsPuduiwkG7gOnaI9YHuBp4VmVyxZlyRToDVPWdrZ9WcqvlvFvMBKuEkXm%2FpulTZNmfHvnlzzbuFCVY1R0NXpD54%2FXi8sMEiiCj3zqGnvDLYojKjRcpFEvdDBnCmgtFZvWjJRR9nFtwZe%2Bw3CpwyU0JajeJqisNxoVbmn2hu%2BIR7bw8WAQhEMrKGgXyKX9oiyVmpADWIBl0GNbOcSDw3KSaMWthmajIAgKJ4N%2FiOTcUUMxSQkIHmY44Qk3AKa3noRWN19mwADgZFWRSuqSJYxv2Q%2BOjavPOfyCzyw6KthythqeYUlgaSXU3K9DGNaYDRprDloG3L3VFvktkQ42R99FwV8V3qPnI01OThNGiq84D0otu8pDx0QMB%2FovHzNdRAx%2BPYNtpLBmYBrNL%2FOYB0aDQietkKE2RkWpQavmcAq9Klair9cb6jJ4RekvsT643xWsU%2FOLvE8PLruRQT%2F1N%2FX0UX5zjR%2Fb9JjqhEIxoKI3pc%2B9YHU3ZqNENeyOSWK1dj1V7r%2F1jEznV9kAGiCn4dGO7Xr6IcZJ6DtDO%2Btw6CAoi97vkf9DKKbKzUJCRG2L%2BcBx2ulcY4VQMD1bu%2Bmft5MfxFN2M7ySvjPfd82v7Va6o87UL78JXqnaYpZWBdVYcBrypmT265Qoxa0%2Bx3o2RAXFJJ9cMuT%2BkWoQknxb0cnJRMbGFkmtAbqyL7ZhZBEl%2BzbA6%2Fy3kuAFqOFh9RupyzQCDCFsK%2B4BjqxAcURJ%2FqYNzuTqitegtX%2BBIzdQCR1nTx5XnWsTF%2BOm7hFhjQWceI2TPXb6SAsZyWZJiFY5OWsMtMfmTBXG4UvF0bvyeDN%2F7hgOG5LJuZMNTsyvesxXU1rhtYNQyzT9D0iWIMZ%2Bk2qNM42tVL91kAKFFSdlgYmsuh8ioH%2FFVKzaOYwvtwD4lQhGpq23pRMpehyqcPDcD2m6h6%2Bq8qVznhGSa5QszFhRGi55iENsioF2IwvnA%3D%3D"&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;42 &lt;/div&gt;
&lt;div&gt;based on the partiesâ relative financial circumstances at t&lt;span&gt;&lt;/span&gt;hat time.&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;6&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;/div&gt;
&lt;div&gt;See&lt;span&gt; C.A.R. 39.1; &lt;/span&gt;Martin&lt;span&gt;, Â¶ &lt;span&gt;42.&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 90&lt;span&gt; &lt;/span&gt;&lt;span&gt;We deny father&lt;span&gt;â&lt;/span&gt;s request for appellate attorney fees under &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;section 14-&lt;span&gt;10&lt;/span&gt;-119 because father provides no argument about the &lt;/div&gt;
&lt;div&gt;relative financial resources of both parties to support his &lt;span&gt;&lt;/span&gt;request.  &lt;/div&gt;
&lt;div&gt;See&lt;span&gt; Â§ &lt;span&gt;14&lt;span&gt;-&lt;span&gt;10&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;-119 (providing that &lt;span&gt;â&lt;/span&gt;[t]he court from time to t&lt;span&gt;&lt;/span&gt;ime, &lt;span&gt;after &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;considering the financial resources of both part&lt;span&gt;&lt;/span&gt;ies&lt;span&gt;â&lt;/span&gt;&lt;span&gt; may order one &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;party to pay the attorney fees of the other) (emphasis added)&lt;span&gt;.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Instead, father asserts that mother&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;span&gt;â&lt;/span&gt;&lt;/span&gt;continued pursuant [sic] &lt;span&gt;&lt;/span&gt;of &lt;/div&gt;
&lt;div&gt;litigation and her refusals to accept the carefully considere&lt;span&gt;&lt;/span&gt;d and &lt;/div&gt;
&lt;div&gt;reasoned judgments&lt;span&gt;â&lt;/span&gt; of the arbitrator and trial court have imp&lt;span&gt;&lt;/span&gt;osed &lt;/div&gt;
&lt;div&gt;â&lt;span&gt;burdens and expenses&lt;/span&gt;â&lt;span&gt; on him&lt;span&gt;.  &lt;/span&gt;Essentially, father requests that&lt;span&gt;&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;he be awarded his fees as a punishment for mother&lt;span&gt;â&lt;/span&gt;s pursuit of &lt;/div&gt;
&lt;div&gt;these appeals.  Although mother&lt;span&gt;â&lt;/span&gt;s conduct may be conside&lt;span&gt;&lt;/span&gt;red to &lt;/div&gt;
&lt;div&gt;the extent that &lt;span&gt;â&lt;/span&gt;it might affect the reasonableness and necessity &lt;span&gt;&lt;/span&gt;of &lt;/div&gt;
&lt;div&gt;attorney fees&lt;span&gt;â&lt;/span&gt; &lt;span&gt;she&lt;/span&gt; incurred, an award of fees under section &lt;span&gt;14&lt;/span&gt;&lt;span&gt;-&lt;span&gt;10&lt;/span&gt;-&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;6&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; Because neither party raises this issue, we express no opinion &lt;/div&gt;
&lt;div&gt;about the interaction of competing attorney fee requests un&lt;span&gt;&lt;/span&gt;der &lt;/div&gt;
&lt;div&gt;section 14-&lt;span&gt;10&lt;/span&gt;-128.5 and section 14-&lt;span&gt;10&lt;span&gt;-&lt;span&gt;119&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, C.R.S. 2024. &lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pf2d" data-dest-detail='[45,"XYZ",69,121,null]'&gt;&lt;div style="border-style:none;position:absolute;left:668.686667px;bottom:877.999444px;width:10.080000px;height:32.870000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf2e" data-page-no="2e"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;43 &lt;/div&gt;
&lt;div&gt;119 &lt;span&gt;â&lt;/span&gt;should not be used as punishment against a party.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;&lt;span&gt;C.J.S.&lt;/span&gt;, 37 &lt;/div&gt;
&lt;div&gt;P.3d &lt;span&gt;at&lt;/span&gt; 481.  &lt;/div&gt;
&lt;div&gt;IX.&lt;span&gt; &lt;/span&gt;&lt;span&gt;Disposition &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 91&lt;span&gt; &lt;/span&gt;&lt;span&gt;The judgment is affirmed in part and reversed in part, and the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;case is remanded for proceedings consistent with this opinion&lt;span&gt;. &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;JUDGE HARRIS and JUDGE TAUBMAN concur. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
